                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
In re:                                                          Case Number: 20-51066-MAR

HENRY FORD VILLAGE, INC.                                        Chapter 11

         Debtor.                                                Hon. Mark A. Randon
                                                            /


         NOTICE OF FILING OF KCC INTERIM CLAIMS REGISTERS


         PLEASE TAKE NOTICE that, pursuant to the Agreed Order

(I) Authorizing Termination of Employment of Kurtzman Carson Consultants, LLC

as Claims, Balloting and Noticing Agent for Debtor, (II) for Transition by KCC of

the Claims Register and Claims and Supporting Documentation to Stretto, and

(III) for Payment of Remaining KCC Fees [ECF No. 705], attached as Exhibit “A”

is the KCC Interim Claims Register with the claims set out in alphabetical order by

claimant name. Additionally, attached as Exhibit “B” is the KCC Interim Claims

Register with the claims set out in numerical order.




120951.000002 4895-8319-8475.1 1/28/2022 (12:17 PM)
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Dated: January 28, 2022.                  DYKEMA GOSSETT PLLC

                                          By: /s/ Sheryl L. Toby
                                             Sheryl L. Toby (P39114)
                                             39577 Woodward Avenue, Suite 300
                                             Bloomfield Hills, Michigan 48304
                                            (248) 203-0700 / Fax (248) 203-0763
                                             SToby@dykema.com

                                                and

                                                Danielle N. Rushing
                                                Texas Bar No. 24086961
                                                112 East Pecan Street, Suite 1800
                                                San Antonio, Texas 78205
                                                (210) 554-5500 / Fax (210) 226-8395
                                                DRushing@dykema.com

                                                COUNSEL FOR DEBTOR
                                                AND DEBTOR-IN-POSSESSION




                                                2
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               EXHIBIT “A”




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  Claim
   No.     Date Filed                    Creditor Name                     Creditor Notice Name                          Address 1                   Address 2         Address 3                  City               State       Zip      Country    Claim Amount             Nature                Claim Type            A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     155   02/23/2021   Aetna, Inc.                                  Aaron McCollough                    77 West Wacker Drive Ste 4100                                             Chicago                        IL         60601-1818                        W/D    General Unsecured   Insurance Claim                                                      Henry Ford Village, Inc.   20-51066
     288   04/20/2021   AIG Property Casualty, Inc.                  Attn. Kevin J. Larner, Esq.         80 Pine Street, 13th Floor                                                New York                       NY         10005                  UNLIQUIDATED      General Unsecured   Insurance Claim                                                      Henry Ford Village, Inc.   20-51066
     335   06/23/2021   Alternative Contracting Inc.                                                     7703 Donna St                                                             Westland                       MI         48185                       $12,080.00   Admin Priority      503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
      94   02/01/2021   American Quality Foods                                                           353 Banner Farm Road                                                      Mills River                    NC         28759-8707                     $293.64   General Unsecured   Trade Claim                     A     11/17/2020 Dover Foods Inc     Henry Ford Village, Inc.   20-51066
      60   12/28/2020   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                       $95,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     103   02/01/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                        $2,753.93   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
     131   02/10/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                       $93,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     160   02/24/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     160   02/24/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $155,975.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     168   02/26/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $143,899.71   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     181   03/01/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $143,899.71   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     192   03/05/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $169,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     208   03/09/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     208   03/09/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                       $56,975.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     229   03/30/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $150,052.17   General Unsecured   Former/Current Resident Claim   A                                    Henry Ford Village, Inc.   20-51066
     297   04/21/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     297   04/21/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                       $53,052.43   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     322   04/22/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                        $3,025.00   Priority            Former/Current Resident Claim   A     02/05/2021 112                 Henry Ford Village, Inc.   20-51066
     322   04/22/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                       $89,975.00   General Unsecured   Former/Current Resident Claim   A     02/05/2021 112                 Henry Ford Village, Inc.   20-51066
     336   07/01/2021   Argo Partners                                                                    12 West 37th Street, Ste. 900                                             New York                       NY         10018                      $104,975.80   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     119   02/10/2021   Auto Acessories USA Inc                                                          35501 Central City Parkway                                                Westland                       MI         48185                          $920.00   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
      18   11/30/2020   Award Company of America, LLC                Award Company of America            6350 Old Montgomery Hwy                                                   Tuscaloosa                     AL         35405                        $1,375.05   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
    183    03/03/2021   Bewick Publications Inc                      Times-Herald Newspapers/Sunday PO Box 706                                                                     Dearborn                       MI         48121-0706                     $300.00   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
                                                                     Times
     228 03/30/2021 Bewick Publications, Inc.                        Gloria J. Fox, Advertising Director 15630 Michigan Ave                                                        Dearborn                       MI         48126                          $300.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066

      89   01/20/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $142,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     156   02/23/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $142,095.42   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     156   02/23/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     170   03/01/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                       $76,500.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     247   04/08/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $132,750.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     258   04/13/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $125,845.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     259   04/13/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $135,120.00   General Unsecured   Former/Current Resident Claim   A     04/13/2021                     Henry Ford Village, Inc.   20-51066
     262   04/08/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     262   04/08/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $151,975.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     267   04/12/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                        $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     267   04/12/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                       $74,475.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     291   04/20/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $168,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     332   05/28/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $175,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     334   06/15/2021
                    Bradford Capital Holdings, LP                    Brian L. Brager                    P.O. Box 4353                                                              Clifton                        NJ         07012                      $148,500.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
      31   12/08/2020
                    Butzel Long, P.C.                                c/o Max Newman                     41000 Woodward Ave.                    Stoneridge West                     Bloomfield Hills               MI         48304                      $114,132.45   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
     355   11/03/2021
                    CA Type and Graphics                             Aaron Arkelian                     7326 Greenfield Road                                                       Dearborn                       MI         48126                          $692.00   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
      42   12/11/2020
                    Capital One Bank (USA), N.A. by American                                            4515 N Santa Fe Ave                                                        Oklahoma City                  OK         73118                        $1,998.16   General Unsecured   Lender Claim                                                         Henry Ford Village, Inc.   20-51066
                    InfoSource as Agent
      13 11/10/2020 CIT Finance, LLC                                                                   PO Box 593007                                                               San Antonio                    TX         78259                          $735.14 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     248 04/07/2021 City of Dearborn                                 City of Dearborn Legal Department 16901 Michigan Ave., Suite 14                                               Dearborn                       MI         48126-2967                  $61,046.59 Secured           Utility Claim                                                            Henry Ford Village, Inc.   20-51066

     375   12/15/2021   Clark, Ms. Toya M                                                               34411 Parkgrove Dr                                                         Westland                       MI         48185-1403                     BLANK     General Unsecured   Employee Claim                                                       Henry Ford Village, Inc.   20-51066
      56   12/23/2020   Cochran Brothers Dist. Inc.                                                     27060 Trolley Industrial Dr                                                Taylor                         MI         48180                        $1,411.33   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
      11   11/16/2020   Comerica Bank                                Gary P. Mach                       3551 Hamlin Rd., MC 7356                                                   Auburn Hills                   MI         48326                             W/D    General Unsecured   Lender Claim                                                         Henry Ford Village, Inc.   20-51066
     250   04/12/2021   Comerica Bank                                Gary P. Mach                       3551 Hamlin Rd., MC 7356                                                   Auburn Hills                   MI         48326                       $27,460.26   Secured             Trade Claim                                                          Henry Ford Village, Inc.   20-51066
      16   11/30/2020   Compsych Corporation                         Robert Mallers, CFO - Compsych     455 N. CityFront Plaza Dr. NBC Tower                                       Chicago                        IL         60611                        $8,446.48   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
                                                                                                        13th Fl
       26 12/08/2020 Control Solutions, Inc                                                             8535 Bryon Commerce Dr. SW, Suite A                                        Byron Center                   MI         49315                       $45,000.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
       96 02/02/2021 Core Electric Company Inc                                                          25125 West Outer Drive                                                     Melvindale                     MI         48122-1939                     $510.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
        3 11/23/2020 CRG Financial LLC                               As Assignee of Teresa L. Roman     100 Union Ave                                                              Cresskill                      NJ         07626                      $197,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     Revocable Living Trust dtd
                                                                     07/26/01
       49 12/21/2020 CRG Financial LLC                               As Assignee of the Pauline P.      100 Union Ave                                                              Cresskill                      NJ         07626                       $75,081.88 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     Doubek Living Trust
       93 01/28/2021 CRG Financial LLC                               As Assignee of Stefania Stoenica   100 Union Ave                                                              Cresskill                      NJ         07626                      $183,000.85 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     f/k/a Stefania Gradinary as
                                                                     Beneficiary of Former Resident
                                                                     Mary Rozich
     214 03/12/2021 CRG Financial LLC                                As Assignee of the Ward D.         100 Union Ave                                                              Cresskill                      NJ         07626                      $190,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     Peterson Jr. Living Trust, Dated
                                                                     10/23/2014
     214 03/12/2021 CRG Financial LLC                                As Assignee of the Ward D.         100 Union Ave                                                              Cresskill                      NJ         07626                        $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
                                                                     Peterson Jr. Living Trust, Dated
                                                                     10/23/2014
     238 04/05/2021 CRG Financial LLC                                As Assignee of Nancy Sanner        100 Union Ave                                                              Cresskill                      NJ         07626                      $143,651.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     Living Trust Dated 01/18/2008
     273 04/15/2021 CRG Financial LLC                                As Assignee of the Nagorski        100 Union Ave                                                              Cresskill                      NJ         07626                       $26,279.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                     Family Trust
     132 02/10/2021 Cross Country Staffing                           c/o Jonathan Neil & Assoc. Inc.    P.O. Box 7000                                                              Tarzana                        CA         91357                       $18,697.13 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     142 02/17/2021 David W. Ringe                                                                      W343N5238 Gietzen Rd                                                       Okauchee                       WI         53069                       $45,000.00 Admin Priority    503(b)(9) Claim                                                          Henry Ford Village, Inc.   20-51066
      35 12/04/2020 Del Bene Produce, Inc., a Michigan Corporation   Attn Kathy Dillon                  Del Bene Produce, Inc.                 2900 Rivard Street                  Detroit                        MI         48207                       $12,585.28 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066

      27 12/03/2020 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $625,915.90 Priority              Tax Claim                                                            Henry Ford Village, Inc.   20-51066
                    Service
      27 12/03/2020 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $192,676.36 General Unsecured Tax Claim                                                                Henry Ford Village, Inc.   20-51066
                    Service
      28 12/04/2020 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $509,720.79 Priority              Tax Claim                       A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     169 03/01/2021 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $529,299.97 Priority              Tax Claim                       A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     169 03/01/2021 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                   $2,179.52 General Unsecured Tax Claim                           A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     391 12/23/2021 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $194,470.92 Priority              Tax Claim                       A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     392 12/27/2021 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                 $529,299.97 Priority              Tax Claim                       A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     392 12/27/2021 Department of Treasury - Internal Revenue        Internal Revenue Service           PO Box 7346                                                                Philadelphia                   PA         19101-7346                   $2,179.52 General Unsecured Tax Claim                           A     12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     296 04/20/2021 Detroit Glass & Mirror                                                              972 Adelaide                                                               Wyandotte                      MI         48192                        $8,457.69 General Unsecured Trade Claim                         A                                    Henry Ford Village, Inc.   20-51066
       2 11/18/2020 Dickinson Wright PLLC                            c/o James Plemmons                 500 Woodward Avenue, Suite 4000                                            Detroit                        MI         48226                       $55,292.90 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     161 02/24/2021 Digital Assurance Certification                  DAC Billing                        315 East Robinson Street Suite 300                                         Orlando                        FL         32801                        $3,000.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066



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  Claim
   No.     Date Filed                    Creditor Name                     Creditor Notice Name                       Address 1                      Address 2           Address 3                City                 State       Zip      Country   Claim Amount           Nature                   Claim Type            A R   A/R Date        A/R Claim #        Debtor Name            Debtor Number
      77   01/12/2021   Direct Energy Business Marketing LLC         Direct Energy - A/R Dept          194 Wood Ave South - 2nd Fl                                                   Iselin                         NJ         08830                         $914.48    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      77   01/12/2021   Direct Energy Business Marketing LLC         Direct Energy - A/R Dept          194 Wood Ave South - 2nd Fl                                                   Iselin                         NJ         08830                      $19,983.33    General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      12   11/25/2020   Direct Supply, Inc.                                                            6767 N Industrial Rd.                                                         Milwaukee                      WI         53223                       $3,734.48    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     152   02/22/2021   Direct Supply, Inc.                                                            6767 N Industrial Rd.                                                         Milwaukee                      WI         53223                       $3,734.48    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
       5   11/24/2020   Dover Foods Inc                                                                353 Banner Farm Road                                                          Mills River                    NC         28759                         $632.27    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     138   02/16/2021   Driven Solutions Inc                                                           404 E 10 Mile Road, Suite 100                                                 Pleasant Ridge                 MI         48069                      $64,151.26    General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     138   02/16/2021   Driven Solutions Inc                                                           404 E 10 Mile Road, Suite 100                                                 Pleasant Ridge                 MI         48069                      $67,424.16    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     202   03/08/2021   Driven Solutions, Inc.                       c/o Eric A. Parzianello, Esq.     801 West Ann Arbor Trail, Suite 240                                           Plymouth                       MI         48170                     $131,575.42    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      81   01/13/2021   Ecolab                                                                         P.O. Box 70343                                                                Chicago                        IL         60673-0343                    $468.88    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      81   01/13/2021   Ecolab                                                                         P.O. Box 70343                                                                Chicago                        IL         60673-0343                    $671.18    General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      65   01/04/2021   Fairlane Ford Sales Inc                                                        14585 Michigan Ave                                                            Dearborn                       MI         48126-3438                     $45.95    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      99   02/03/2021   Fire Alarm Service Team LLC                  Laura Jonik                       4023 S Old US Highway 23, Suite 107                                           Brighton                       MI         48114                       $5,387.50    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      99   02/03/2021   Fire Alarm Service Team LLC                  Laura Jonik                       4023 S Old US Highway 23, Suite 107                                           Brighton                       MI         48114                      $15,402.50    General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      55   12/23/2020   Fire Alarm Service Team, LLC                                                   4023 S Old Highway 23                                                         Brighton                       MI         48114                      $26,544.00    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     162   02/24/2021   First Choice Coffee Services                                                   1460 Combermere                                                               Troy                           MI         48083                       $1,085.40    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
       9   10/30/2020   Ford Motor Credit Company, LLC                                                 PO Box 62180                                                                  Colorado Springs               CO         80962-2180                 $10,127.67    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      10   10/30/2020   Ford Motor Credit Company, LLC                                                 PO Box 62180                                                                  Colorado Springs               CO         80962-2180                  $8,898.60    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     274   04/16/2021   Gordon Food Service, Inc.                    c/o Jason Torf                    Ice Miller LLP                          200 W. Madison Street,                Chicago                        IL         60606                      $34,277.14    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
                                                                                                                                               Suite 3500
     274 04/16/2021 Gordon Food Service, Inc.                        c/o Jason Torf                    Ice Miller LLP                          200 W. Madison Street,                Chicago                        IL         60606                      $41,993.38 General Unsecured 503(b)(9) Claim                                                          Henry Ford Village, Inc.   20-51066
                                                                                                                                               Suite 3500
     347 09/01/2021 Gunderson, Inc DBA Flowers on the Avenue                                           6834 Park Avenue                                                              Allen Park                     MI         48180                         $240.00 Admin Priority    503(b)(9) Claim                                                          Henry Ford Village, Inc.   20-51066
      57 12/23/2020 HD Supply Facilities Maintenance                                                   101 Riverview Parkway                                                         Santee                         CA         92071                       $1,823.50 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     349 09/02/2021 Health Resources & Services Administration US    c/o James Walsh, Assistant        Office of the General Counsel, US DHHS 233 N. Michigan Ave.,                  Chicago                        IL         60601                  UNLIQUIDATED General Unsecured Governmental Claim                                                         Henry Ford Village, Inc.   20-51066
                    DHHS                                             Regional Counsel                                                         Suite 700
     218 03/24/2021 Hershey Creamery Company                                                           301 S Cameron Street                                                          Harrisburg                     PA         17101                          $820.55   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     218 03/24/2021 Hershey Creamery Company                                                           301 S Cameron Street                                                          Harrisburg                     PA         17101                          $246.04   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     398 12/30/2021 Hindmarsh, Mr. Wayne Andrew                                                        464 Neff Road Apt 1                                                           Grosse Pointe                  MI         48230                        $2,794.82   Priority            Employee Claim                                                      Henry Ford Village, Inc.   20-51066
     100 02/03/2021 Horizon Healthcare Supply Inc                    c/o Jennifer Rilea, AR/AP         6100 Waseca Street                     Suite 150                              Duluth                         MN         55807                          $629.58   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     301 04/21/2021 Hunter Douglas Fabrication Company                                                 One Hunter Douglas Drive                                                      Cumberland                     MA         21502                          $522.61   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     301 04/21/2021 Hunter Douglas Fabrication Company                                                 One Hunter Douglas Drive                                                      Cumberland                     MA         21502                        $1,228.85   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     316 04/22/2021 Invesco High Yield Municipal Fund                Attn Legal Department             11 Greenway Plaza Suite 1000                                                  Houston                        TX         77046                    $3,745,222.40   General Unsecured   Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     317 04/22/2021 Invesco High Yield Municipal Fund                Attn Legal Department             11 Greenway Plaza Suite 1000                                                  Houston                        TX         77046                    $5,853,155.00   General Unsecured   Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     318 04/22/2021 Invesco High Yield Municipal Fund                Attn Legal Department             11 Greenway Plaza Suite 1000                                                  Houston                        TX         77046                    $3,897,573.00   General Unsecured   Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     319 04/22/2021 Invesco Municipal Income Opportunities Trust     Attn Legal Department             11 Greenway Plaza Suite 1000                                                  Houston                        TX         77046                      $848,295.30   General Unsecured   Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     109 02/05/2021 IPFS Corporation                                                                   30 Montgomery Street Suite 501                                                Jersey City                    NJ         07302                             W/D    Secured             Lender Claim                                                        Henry Ford Village, Inc.   20-51066
      95 02/01/2021 Jackson Service Company                                                            3218 Old Farm Lane                                                            Commerce Twp                   MI         48390                        $1,160.50   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     230 03/31/2021 Jennifer Rilea                                                                     6100 Waseca Street, Suite #150                                                Duluth                         MN         55807                          $629.58   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     329 05/06/2021 Johnson Controls Inc                             Cesar Garcia                      10405 Crosspoint Blvd                                                         Indianapolis                   IN         46256                        $6,048.12   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     338 12/22/2020 Kenwhirl Appliance                               Ray Kufel, President              13603 Ashurst                                                                 Livonia                        MI         48150                        $3,064.00   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      67 01/05/2021 Leader Printing and Mailing                                                        25034 W. Warren St.                                                           Dearborn Hts.                  MI         48127                        $1,023.84   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      91 01/21/2021 LED ProValue                                     William Tortora                   310 E 46 Street 20L                                                           New York                       NY         10017                        $4,378.03   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     141 02/17/2021 Leonards Syrups                                                                    4601 Nancy Street                                                             Detroit                        MI         48212                        $1,639.50   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     141 02/17/2021 Leonards Syrups                                                                    4601 Nancy Street                                                             Detroit                        MI         48212                          $313.20   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     140 02/17/2021 Liberty Plumbing Supply                                                            29101 Michigan Ave                                                            Inkster                        MI         48141-0390                   $3,616.64   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     140 02/17/2021 Liberty Plumbing Supply                                                            29101 Michigan Ave                                                            Inkster                        MI         48141-0390                      $53.25   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     199 03/05/2021 Life Care Services LLC                           David A. Lerner, Esq              Plunkett Cooney                        38505 Woodward Ave,                    Bloomfield Hills               MI         48304                    $2,850,111.00   General Unsecured   Executory Contract Claim                                            Henry Ford Village, Inc.   20-51066
                                                                                                                                              Ste 100
     207 03/09/2021 Life Care Services LLC                           David A. Lerner, Esq              Plunkett Cooney                        38505 Woodward Ave,                    Bloomfield Hills               MI         48304                    $2,850,111.00 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
                                                                                                                                              Ste 100
     412 01/14/2022 Life Care Services LLC                           David A. Lerner, Esq              Plunkett Cooney                        38505 Woodward Ave,                    Bloomfield Hills               MI         48304                    $2,839,749.88 General Unsecured Trade Claim                         A     03/05/2021 63                 Henry Ford Village, Inc.   20-51066
                                                                                                                                              Ste 100
     157   02/12/2021   McKesson Medical-Surgical, Inc.                                                6651 Gate Parkway                                                             Jacksonville                   FL         32256                      $53,204.26    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     333   06/02/2021   Medical Staffing Network                     c/o Jonathan Neil & Assoc. Inc.   P.O. Box 7000                                                                 Tarzana                        CA         91357                      $18,697.13    General Unsecured   Trade Claim                     A     02/10/2021 1                  Henry Ford Village, Inc.   20-51066
     249   04/08/2021   Metro Carbonic                               Joyce Walker                      12620 Southfield                                                              Detroit                        MI         48223                          $72.54    General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     249   04/08/2021   Metro Carbonic                               Joyce Walker                      12620 Southfield                                                              Detroit                        MI         48223                       $2,325.00    Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     346   09/03/2021   Michigan Department of Health and Human      Brian K. McLaughlin, AAG          PO Box 30754                                                                  Lansing                        MI         48909                      $13,959.33    General Unsecured   Governmental Claim                                                  Henry Ford Village, Inc.   20-51066
                        Services
     348 09/03/2021     Michigan Department of Health and Human      Brian K. McLaughlin, AAG          PO Box 30754                                                                  Lansing                        MI         48909                      $13,959.33 General Unsecured Governmental Claim                                                       Henry Ford Village, Inc.   20-51066
                        Services
     239   04/02/2021   Michigan Filter & Fleet Supply                                                 3330 Dixie Hwy                                                                Waterford                      MI         48328                         $209.55    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     101   02/03/2021   Michigan Filter Fleet Supply                                                   3330 Dixie Hwy                                                                Waterford                      MI         48328                         $209.55    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     122   02/11/2021   Modernistic Cleaning Services Inc            MCC                               1460 Rankin Dr                                                                Troy                           MI         48083                       $5,209.72    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     400   01/03/2022   Moussa, Ms. Mira H.                                                            22260 Edison Street                                                           Dearborn                       MI         48124                  UNLIQUIDATED      General Unsecured   Employee Claim                                                      Henry Ford Village, Inc.   20-51066
     115   02/08/2021   Mustang Fence Company LLC                                                      3244 Wyoming                                                                  Dearborn                       MI         48120                         $680.00    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      36   12/10/2020   Noble Pest Control LLC                       Noble Pest Control                PO Box 1494                                                                   Troy                           MI         48099                         $600.00    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      69   01/05/2021   Norma Hood and Grewal Law, PLLC              Gurrajan Gill                     345 Cady Street, 3rd Floor                                                    Northville                     MI         48167                     $509,127.83    General Unsecured   Litigation Claim                                                    Henry Ford Village, Inc.   20-51066
     108   02/03/2021   OFFICETEAM                                   RECOVERY DEPT                     ROBERT HALF                             PO BOX 5024                           SAN RAMON                      CA         94583                       $7,774.92    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      44   12/14/2020   OneCare LTC, LLC                             c/o David T. Lin, Esq .           Seyburn Kahn, P.C.                      2000 Town Center - Ste.               Southfield                     MI         48075                      $53,777.65    Admin Priority      Trade Claim                                                         Henry Ford Village, Inc.   20-51066
                                                                                                                                               1500
       44 12/14/2020 OneCare LTC, LLC                                c/o David T. Lin, Esq .           Seyburn Kahn, P.C.                      2000 Town Center - Ste.               Southfield                     MI         48075                     $694,944.22 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
                                                                                                                                               1500
     203 03/09/2021 OneCare LTC, LLC                                 c/o David T. Lin, Esq .           Seyburn Kahn, P.C.                      2000 Town Center - Ste.               Southfield                     MI         48075                      $28,600.89 Admin Priority         503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
                                                                                                                                               1500
     209 03/09/2021 OneCare LTC, LLC                                 c/o David T. Lin, Esq .           Seyburn Kahn, P.C.                      2000 Town Center - Ste.               Southfield                     MI         48075                     $752,081.58 General Unsecured Trade Claim                          A     12/14/2020 See Notes          Henry Ford Village, Inc.   20-51066
                                                                                                                                               1500
     339   07/22/2021   OneDay                                       Deena Naccarella                  150 Manufacturing Street, Suite 207                                           Dallas                         TX         75207                        $206.25     Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     369   12/02/2021   Pitney Bowes Global Financial Services LLC                                     27 Waterview Drive                                                            Shelton                        CT         06484                       $5,069.17    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      78   01/12/2021   Pitney Bowes Inc                                                               27 Waterview Dr, 3rd Fl                                                       Shelton                        CT         06484                         $911.40    General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     221   03/23/2021   Plumley Settlement Fund                      Attn Mantese Honigman, P.C.       David Honigman P33146 and Terry Milne 1361 E Big Beaver Road                  Troy                           MI         48083                     $800,000.00    General Unsecured   Litigation Claim                                                    Henry Ford Village, Inc.   20-51066
                                                                                                       Osgood P426
      20 12/02/2020 Pm Technologies                                                                    28294 Beck Road                                                               Wixom                          MI         48393                       $2,775.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     264 04/13/2021 Power Vac Of Michigan Inc                                                          44300 GRAND RIVER                                                             NOVI                           MI         48375                       $3,440.50 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     283 04/19/2021 RehabCare Group East, LLC f/k/a RehabCare        Phillip A. Martin                 Fultz Maddox Dickens PLC              101 S. Fifth Street, 27th               Louisville                     KY         40202                     $189,096.30 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
                    Group East, Inc.                                                                                                         Floor
     134 02/14/2021 Resident 20057                                                                     Address Redacted                                                                                                                                   $69,284.96 Secured                Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     134 02/14/2021 Resident 20057                                                                     Address Redacted                                                                                                                                        $0.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     314 04/22/2021 Resident 20068                                                                     Address Redacted                                                                                                                                  $199,434.16 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     269 04/14/2021 Resident 20088                                                                     Address Redacted                                                                                                                                  $163,377.48 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     269 04/14/2021 Resident 20088                                                                     Address Redacted                                                                                                                                    $3,025.00 Priority               Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     114 02/08/2021 Resident 20089                                                                     Address Redacted                                                                                                                                   $60,672.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066




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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1        Address 2      Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type               A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     330 05/14/2021 Resident 20095                                        Address Redacted                                                                                               $70,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     331 05/19/2021 Resident 20095                                        Address Redacted                                                                                           UNLIQUIDATED General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     217 03/12/2021 Resident 20099                                        Address Redacted                                                                                              $149,595.90 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     143 02/17/2021 Resident 20116                                        Address Redacted                                                                                              $136,950.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     323 04/26/2021 Resident 20137                                        Address Redacted                                                                                                $45,584.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     219 03/24/2021 Resident 20142                                        Address Redacted                                                                                                   BLANK General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     220 03/24/2021 Resident 20162                                        Address Redacted                                                                                              $150,052.17 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     206 03/09/2021 Resident 20168                                        Address Redacted                                                                                                $96,009.10 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     206 03/09/2021 Resident 20168                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     310 04/22/2021 Resident 20226                                        Address Redacted                                                                                                $46,859.25 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     215 03/15/2021 Resident 20262                                        Address Redacted                                                                                                $83,358.33 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     232 03/31/2021 Resident 20338                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     232 03/31/2021 Resident 20338                                        Address Redacted                                                                                                $13,940.82 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     244 04/06/2021 Resident 20377                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim   A                                    Henry Ford Village, Inc.   20-51066

     244 04/06/2021 Resident 20377                                        Address Redacted                                                                                              $178,975.00 General Unsecured Former/Current Resident Claim     A                                    Henry Ford Village, Inc.   20-51066

     173 03/02/2021 Resident 20392                                        Address Redacted                                                                                              $152,000.00 Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     173 03/02/2021 Resident 20392                                        Address Redacted                                                                                                     $0.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     377 12/16/2021 Resident 20429                                        Address Redacted                                                                                                $93,000.00 General Unsecured Former/Current Resident Claim    A     02/10/2021 48                  Henry Ford Village, Inc.   20-51066

     135 02/16/2021 Resident 20443                                        Address Redacted                                                                                              $157,413.66 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     135 02/16/2021 Resident 20443                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     278 04/19/2021 Resident 20463                                        Address Redacted                                                                                                $28,852.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     300 04/21/2021 Resident 20507                                        Address Redacted                                                                                              $164,023.10 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     275 04/18/2021 Resident 20555                                        Address Redacted                                                                                                $33,647.31 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     110 02/05/2021 Resident 20558                                        Address Redacted                                                                                              $153,370.00 General Unsecured Former/Current Resident Claim     A     02/04/2021                     Henry Ford Village, Inc.   20-51066

     110 02/05/2021 Resident 20558                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim   A     02/04/2021                     Henry Ford Village, Inc.   20-51066

     268 04/12/2021 Resident 20641                                        Address Redacted                                                                                              $190,287.23 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     268 04/12/2021 Resident 20641                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     164 02/25/2021 Resident 20673                                        Address Redacted                                                                                              $113,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     164 02/25/2021 Resident 20673                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     354 10/26/2021 Resident 20682                                        Address Redacted                                                                                                $90,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     368 11/29/2021 Resident 20682                                        Address Redacted                                                                                                $89,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     384 12/23/2021 Resident 20750                                        Address Redacted                                                                                                $42,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     373 12/13/2021 Resident 20796                                        Address Redacted                                                                                                $75,000.00 Secured            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     373 12/13/2021 Resident 20796                                        Address Redacted                                                                                                $19,225.35 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     413 01/16/2022 Resident 20876                                        Address Redacted                                                                                              $199,500.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     410 01/09/2022 Resident 20892                                        Address Redacted                                                                                              $129,500.00 General Unsecured Former/Current Resident Claim     A     11/18/2021 364                 Henry Ford Village, Inc.   20-51066

     387 12/22/2021 Resident 20907                                        Address Redacted                                                                                                $75,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     393 12/28/2021 Resident 20942                                        Address Redacted                                                                                                 $1,458.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     393 12/28/2021 Resident 20942                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     408 01/06/2022 Resident 21036                                        Address Redacted                                                                                                $44,358.89 General Unsecured Former/Current Resident Claim    A     11/16/2021                     Henry Ford Village, Inc.   20-51066

     414 01/18/2022 Resident 21089                                        Address Redacted                                                                                              $130,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     390 12/27/2021 Resident 21145                                        Address Redacted                                                                                                $96,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     390 12/27/2021 Resident 21145                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     409 01/07/2022 Resident 21153                                        Address Redacted                                                                                              $105,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     386 12/21/2021 Resident 21222                                        Address Redacted                                                                                                 $3,597.89 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     386 12/21/2021 Resident 21222                                        Address Redacted                                                                                                 $3,025.00 Priority          Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     378 12/16/2021 Resident 21245                                        Address Redacted                                                                                                $95,554.58 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     385 12/22/2021 Resident 21245                                        Address Redacted                                                                                                $95,554.58 General Unsecured Former/Current Resident Claim    A     12/16/2021                     Henry Ford Village, Inc.   20-51066

     359 11/09/2021 Resident 21300                                        Address Redacted                                                                                                $89,273.11 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     401 01/03/2022 Resident 21409                                        Address Redacted                                                                                                   BLANK General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1        Address 2      Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type               A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     121 02/11/2021 Resident 21499                                        Address Redacted                                                                                               $11,035.25 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     227 03/29/2021 Resident 21530                                        Address Redacted                                                                                                $68,014.05 General Unsecured Former/Current Resident Claim    A     12/12/2020 59                  Henry Ford Village, Inc.   20-51066

     416 01/19/2022 Resident 21540                                        Address Redacted                                                                                                 $1,000.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     174 03/02/2021 Resident 21644                                        Address Redacted                                                                                                $3,025.00 Priority          Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     174 03/02/2021 Resident 21644                                        Address Redacted                                                                                              $143,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     242 04/05/2021 Resident 21646                                        Address Redacted                                                                                                $3,025.00 Priority          Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     242 04/05/2021 Resident 21646                                        Address Redacted                                                                                              $139,032.45 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     234 03/31/2021 Resident 21675                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     234 03/31/2021 Resident 21675                                        Address Redacted                                                                                              $176,056.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     127 02/12/2021 Resident 21680                                        Address Redacted                                                                                                $95,777.34 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     136 02/16/2021 Resident 21686                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     136 02/16/2021 Resident 21686                                        Address Redacted                                                                                           UNLIQUIDATED General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     184 03/03/2021 Resident 21728                                        Address Redacted                                                                                                $78,000.00 Secured            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     394 12/29/2021 Resident 21728                                        Address Redacted                                                                                                $78,000.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     285 04/19/2021 Resident 21729                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     285 04/19/2021 Resident 21729                                        Address Redacted                                                                                              $222,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     286 04/19/2021 Resident 21730                                        Address Redacted                                                                                                      W/D Secured             Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     286 04/19/2021 Resident 21730                                        Address Redacted                                                                                                      W/D Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     186 03/03/2021 Resident 21731                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     186 03/03/2021 Resident 21731                                        Address Redacted                                                                                                $85,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

       14 11/25/2020 Resident 21732                                       Address Redacted                                                                                              $141,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     303 04/21/2021 Resident 21733                                        Address Redacted                                                                                              $204,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     253 04/12/2021 Resident 21785                                        Address Redacted                                                                                              $153,800.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     254 04/12/2021 Resident 21785                                        Address Redacted                                                                                              $153,850.00 General Unsecured Former/Current Resident Claim     A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     255 04/12/2021 Resident 21785                                        Address Redacted                                                                                              $153,800.00 Secured             Former/Current Resident Claim   A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     255 04/12/2021 Resident 21785                                        Address Redacted                                                                                                    $50.00 General Unsecured Former/Current Resident Claim    A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     276 04/18/2021 Resident 21797                                        Address Redacted                                                                                              $138,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     276 04/18/2021 Resident 21797                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     195 03/06/2021 Resident 21798                                        Address Redacted                                                                                              $169,818.81 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     195 03/06/2021 Resident 21798                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     224 03/27/2021 Resident 21805                                        Address Redacted                                                                                              $200,281.95 General Unsecured Former/Current Resident Claim     A     02/12/2021 159                 Henry Ford Village, Inc.   20-51066

     159 02/12/2021 Resident 21806                                        Address Redacted                                                                                                   BLANK General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     146 02/18/2021 Resident 21815                                        Address Redacted                                                                                                $99,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     151 02/22/2021 Resident 21816                                        Address Redacted                                                                                                $11,035.25 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     189 03/05/2021 Resident 21823                                        Address Redacted                                                                                              $188,469.86 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       29 12/03/2020 Resident 21827                                       Address Redacted                                                                                              $163,964.27 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     149 02/22/2021 Resident 21833                                        Address Redacted                                                                                                $11,953.50 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

       84 01/13/2021 Resident 21840                                       Address Redacted                                                                                              $200,240.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       50 12/09/2020 Resident 21849                                       Address Redacted                                                                                                $83,717.23 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     261 04/07/2021 Resident 21856                                        Address Redacted                                                                                              $169,713.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     182 03/01/2021 Resident 21858                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     182 03/01/2021 Resident 21858                                        Address Redacted                                                                                                   $239.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

       72 01/11/2021 Resident 21865                                       Address Redacted                                                                                                $88,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     223 03/26/2021 Resident 21874                                        Address Redacted                                                                                              $142,119.00 General Unsecured Former/Current Resident Claim     A                                    Henry Ford Village, Inc.   20-51066

     124 02/11/2021 Resident 21875                                        Address Redacted                                                                                              $142,119.00 General Unsecured Former/Current Resident Claim     A     11/11/2020 14840184            Henry Ford Village, Inc.   20-51066

     251 04/12/2021 Resident 21878                                        Address Redacted                                                                                                 $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     251 04/12/2021 Resident 21878                                        Address Redacted                                                                                                $99,835.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066




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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1        Address 2      Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type                 A R A/R Date          A/R Claim #        Debtor Name            Debtor Number
     205 03/09/2021 Resident 21881                                        Address Redacted                                                                                              $132,000.00 General Unsecured Former/Current Resident Claim       A   02/05/2021 47                   Henry Ford Village, Inc.   20-51066




       85 01/07/2021 Resident 21910                                       Address Redacted                                                                                              $152,234.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     144 02/18/2021 Resident 21920                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim   A    02/12/2021                     Henry Ford Village, Inc.   20-51066

     144 02/18/2021 Resident 21920                                        Address Redacted                                                                                               $92,752.34 General Unsecured Former/Current Resident Claim       A    02/12/2021                     Henry Ford Village, Inc.   20-51066

     270 04/15/2021 Resident 21920                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim   A    02/18/2021                     Henry Ford Village, Inc.   20-51066

     270 04/15/2021 Resident 21920                                        Address Redacted                                                                                               $86,752.34 General Unsecured Former/Current Resident Claim       A    02/18/2021                     Henry Ford Village, Inc.   20-51066

     271 04/15/2021 Resident 21920                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim   A    04/15/2021                     Henry Ford Village, Inc.   20-51066

     271 04/15/2021 Resident 21920                                        Address Redacted                                                                                               $86,752.34 General Unsecured Former/Current Resident Claim       A    04/15/2021                     Henry Ford Village, Inc.   20-51066

     102 01/29/2021 Resident 21924                                        Address Redacted                                                                                              $100,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     191 03/05/2021 Resident 21926                                        Address Redacted                                                                                              $113,376.87 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


     154 02/22/2021 Resident 21929                                        Address Redacted                                                                                               $11,953.50 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     260 04/11/2021 Resident 21934                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     260 04/11/2021 Resident 21934                                        Address Redacted                                                                                                $2,651.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     236 04/02/2021 Resident 21937                                        Address Redacted                                                                                              $166,688.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     236 04/02/2021 Resident 21937                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     289   04/14/2021   Resident 21940                                    Address Redacted                                                                                              $129,286.00   Admin Priority      Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066
     153   02/22/2021   Resident 21944                                    Address Redacted                                                                                              $138,975.00   General Unsecured   Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066
     153   02/22/2021   Resident 21944                                    Address Redacted                                                                                                $3,025.00   Priority            Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066
     245   04/06/2021   Resident 21946                                    Address Redacted                                                                                               $13,335.98   Secured             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     315 04/22/2021 Resident 21955                                        Address Redacted                                                                                                $1,800.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     315 04/22/2021 Resident 21955                                        Address Redacted                                                                                               $59,369.49 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     133 02/05/2021 Resident 21957                                        Address Redacted                                                                                              $117,803.77 General Unsecured Former/Current Resident Claim       A                                   Henry Ford Village, Inc.   20-51066

     147 02/18/2021 Resident 21963                                        Address Redacted                                                                                                     W/D General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       68 01/05/2021 Resident 21965                                       Address Redacted                                                                                              $140,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     292 04/22/2021 Resident 21965                                        Address Redacted                                                                                              $140,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     252 04/12/2021 Resident 21969                                        Address Redacted                                                                                              $150,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     294 04/21/2021 Resident 21970                                        Address Redacted                                                                                               $65,625.00 General Unsecured Former/Current Resident Claim       A    04/12/2021 252                 Henry Ford Village, Inc.   20-51066

     166 02/26/2021 Resident 21976                                        Address Redacted                                                                                              $152,250.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


     112 02/05/2021 Resident 21980                                        Address Redacted                                                                                               $93,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


     352 10/13/2021 Resident 21986                                        Address Redacted                                                                                              $167,400.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


     326 04/30/2021 Resident 21992                                        Address Redacted                                                                                              $159,000.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     190 03/05/2021 Resident 22002                                        Address Redacted                                                                                               $78,075.00 General Unsecured Former/Current Resident Claim       A    03/05/2021                     Henry Ford Village, Inc.   20-51066

     193 03/05/2021 Resident 22003                                        Address Redacted                                                                                               $78,075.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     225 03/28/2021 Resident 22010                                        Address Redacted                                                                                              $114,711.87 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




     225 03/28/2021 Resident 22010                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066




       23 12/07/2020 Resident 22011                                       Address Redacted                                                                                              $195,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


       40 12/15/2020 Resident 22011                                       Address Redacted                                                                                                     W/D General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     257 04/13/2021 Resident 22012                                        Address Redacted                                                                                              $195,000.00 General Unsecured Former/Current Resident Claim       A    12/07/2020 23                  Henry Ford Village, Inc.   20-51066

     246 04/07/2021 Resident 22025                                        Address Redacted                                                                                               $48,900.31 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




     277 04/19/2021 Resident 22030                                        Address Redacted                                                                                                $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     277 04/19/2021 Resident 22030                                        Address Redacted                                                                                              $128,975.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       82 01/07/2021 Resident 22033                                       Address Redacted                                                                                              $221,568.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       37 12/11/2020 Resident 22040                                       Address Redacted                                                                                              $198,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1        Address 2      Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type              A R A/R Date          A/R Claim #        Debtor Name            Debtor Number
     370 11/30/2021 Resident 22040                                        Address Redacted                                                                                              $198,000.00 General Unsecured Former/Current Resident Claim    A   12/11/2020 37                   Henry Ford Village, Inc.   20-51066

       52 12/15/2020 Resident 22041                                       Address Redacted                                                                                              $187,247.40 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       53 12/16/2020 Resident 22041                                       Address Redacted                                                                                              $188,247.40 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       79 01/12/2021 Resident 22043                                       Address Redacted                                                                                               $90,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       41 12/11/2020 Resident 22045                                       Address Redacted                                                                                                $3,025.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

       41 12/11/2020 Resident 22045                                       Address Redacted                                                                                               $21,878.44 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     265 04/14/2021 Resident 22050                                        Address Redacted                                                                                               $40,553.22 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




     150 02/22/2021 Resident 22052                                        Address Redacted                                                                                               $11,953.50 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     212 03/11/2021 Resident 22068                                        Address Redacted                                                                                               $93,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     194 03/05/2021 Resident 22092                                        Address Redacted                                                                                               $26,036.86 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




     194 03/05/2021 Resident 22092                                        Address Redacted                                                                                                $3,025.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066




     311 04/22/2021 Resident 22095                                        Address Redacted                                                                                               $33,726.02 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       74 01/11/2021 Resident 22099                                       Address Redacted                                                                                              $139,310.07 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       33 12/04/2020 Resident 22102                                       Address Redacted                                                                                              $185,171.01 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       63 12/23/2020 Resident 22103                                       Address Redacted                                                                                              $139,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


       64 12/30/2020 Resident 22107                                       Address Redacted                                                                                              $163,000.00 General Unsecured Executory Contract Claim                                             Henry Ford Village, Inc.   20-51066


     325 04/26/2021 Resident 22107                                        Address Redacted                                                                                                $3,025.00 Priority           Former/Current Resident Claim   A    12/30/2020 26 & 64             Henry Ford Village, Inc.   20-51066


     325 04/26/2021 Resident 22107                                        Address Redacted                                                                                              $159,975.00 General Unsecured Former/Current Resident Claim    A    12/30/2020 26 & 64             Henry Ford Village, Inc.   20-51066


     327 05/03/2021 Resident 22107                                        Address Redacted                                                                                                $3,025.00 Priority           Former/Current Resident Claim   A    12/30/2020 See Notes           Henry Ford Village, Inc.   20-51066


     327 05/03/2021 Resident 22107                                        Address Redacted                                                                                              $159,975.00 General Unsecured Former/Current Resident Claim    A    12/30/2020 See Notes           Henry Ford Village, Inc.   20-51066


     306 04/22/2021 Resident 22109                                        Address Redacted                                                                                              $112,500.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




     104 01/29/2021 Resident 22112                                        Address Redacted                                                                                              $204,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       80 01/13/2021 Resident 22114                                       Address Redacted                                                                                              $223,076.87 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     266 04/14/2021 Resident 22116                                        Address Redacted                                                                                              $236,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     129 02/15/2021 Resident 22133                                        Address Redacted                                                                                               $19,717.80 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
      66 01/04/2021 Resident 22134                                        Address Redacted                                                                                               $19,717.80 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
      48 12/18/2020 Resident 22138                                        Address Redacted                                                                                              $118,551.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     307 04/21/2021 Resident 22141                                        Address Redacted                                                                                              $130,000.00 General Unsecured Former/Current Resident Claim    A                                   Henry Ford Village, Inc.   20-51066
     308 04/21/2021 Resident 22149                                        Address Redacted                                                                                              $112,602.09 General Unsecured Former/Current Resident Claim    A              25595754; 14842945   Henry Ford Village, Inc.   20-51066




     178 03/03/2021 Resident 22153                                        Address Redacted                                                                                              $146,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     167 02/26/2021 Resident 22166                                        Address Redacted                                                                                              $248,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       19 12/01/2020 Resident 22167                                       Address Redacted                                                                                               $84,802.96 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

        6 11/24/2020 Resident 22168                                       Address Redacted                                                                                               $66,600.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     128 02/15/2021 Resident 22169                                        Address Redacted                                                                                              $110,500.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     240 04/05/2021 Resident 22170                                        Address Redacted                                                                                                $3,025.00 Priority           Former/Current Resident Claim   A    02/22/2021 153                 Henry Ford Village, Inc.   20-51066

     240 04/05/2021 Resident 22170                                        Address Redacted                                                                                              $138,975.00 General Unsecured Former/Current Resident Claim    A    02/22/2021 153                 Henry Ford Village, Inc.   20-51066

     282 04/15/2021 Resident 22172                                        Address Redacted                                                                                               $16,525.54 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     210 03/08/2021 Resident 22173                                        Address Redacted                                                                                              $114,670.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     243 04/07/2021 Resident 22175                                        Address Redacted                                                                                              $188,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     211 03/08/2021 Resident 22176                                        Address Redacted                                                                                               $35,330.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1         Address 2   Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type               A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     137 02/16/2021 Resident 22177                                        Address Redacted                                                                                            $169,044.65 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       83 01/14/2021 Resident 22183                                       Address Redacted                                                                                            $183,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     222 03/25/2021 Resident 22184                                        Address Redacted                                                                                              $78,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     188 03/04/2021 Resident 22185                                        Address Redacted                                                                                            $158,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       25 12/08/2020 Resident 22186                                       Address Redacted                                                                                              $17,672.00 Priority           Former/Current Resident Claim         11/30/2020                     Henry Ford Village, Inc.   20-51066

     176 03/02/2021 Resident 22193                                        Address Redacted                                                                                              $72,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


       90 01/20/2021 Resident 22195                                       Address Redacted                                                                                            $120,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       62 12/23/2020 Resident 22196                                       Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       62 12/23/2020 Resident 22196                                       Address Redacted                                                                                            $143,575.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     204 03/09/2021 Resident 22197                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim   A     03/09/2021 68                  Henry Ford Village, Inc.   20-51066

     204 03/09/2021 Resident 22197                                        Address Redacted                                                                                            $126,261.00 General Unsecured Former/Current Resident Claim     A     03/09/2021 68                  Henry Ford Village, Inc.   20-51066

     180 03/01/2021 Resident 22198                                        Address Redacted                                                                                            $140,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     321 04/22/2021 Resident 22198                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim   A     03/01/2021 180                 Henry Ford Village, Inc.   20-51066


     321 04/22/2021 Resident 22198                                        Address Redacted                                                                                            $136,975.00 General Unsecured Former/Current Resident Claim     A     03/01/2021 180                 Henry Ford Village, Inc.   20-51066


     287 04/19/2021 Resident 22200                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim   A     04/19/2021 See Notes           Henry Ford Village, Inc.   20-51066

     287 04/19/2021 Resident 22200                                        Address Redacted                                                                                               $2,651.00 General Unsecured Former/Current Resident Claim    A     04/19/2021 See Notes           Henry Ford Village, Inc.   20-51066

     175 03/02/2021 Resident 22201                                        Address Redacted                                                                                            $159,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     313 04/20/2021 Resident 22202                                        Address Redacted                                                                                              $66,102.15 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     293 04/21/2021 Resident 22203                                        Address Redacted                                                                                               $4,373.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     106 02/04/2021 Resident 22205                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     106 02/04/2021 Resident 22205                                        Address Redacted                                                                                            $143,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     284 04/19/2021 Resident 22206                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     284 04/19/2021 Resident 22206                                        Address Redacted                                                                                              $56,725.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

        8 11/25/2020 Resident 22208                                       Address Redacted                                                                                         UNLIQUIDATED General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     235 03/28/2021 Resident 22211                                        Address Redacted                                                                                            $125,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       71 01/06/2021 Resident 22213                                       Address Redacted                                                                                              $42,634.06 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


       97 02/02/2021 Resident 22215                                       Address Redacted                                                                                              $60,750.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     231 03/31/2021 Resident 22219                                        Address Redacted                                                                                            $168,625.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     231 03/31/2021 Resident 22219                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     125 02/11/2021 Resident 22220                                        Address Redacted                                                                                              $11,035.25 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     185 03/03/2021 Resident 22224                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     185 03/03/2021 Resident 22224                                        Address Redacted                                                                                            $153,220.20 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     179 03/03/2021 Resident 22227                                        Address Redacted                                                                                            $141,000.00 Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       15 11/30/2020 Resident 22229                                       Address Redacted                                                                                              $97,125.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

       34 12/08/2020 Resident 22231                                       Address Redacted                                                                                            $233,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     241 04/05/2021 Resident 22232                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     241 04/05/2021 Resident 22232                                        Address Redacted                                                                                            $175,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     196 03/06/2021 Resident 22233                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim   A     03/06/2021                     Henry Ford Village, Inc.   20-51066

     196 03/06/2021 Resident 22233                                        Address Redacted                                                                                            $169,818.81 General Unsecured Former/Current Resident Claim     A     03/06/2021                     Henry Ford Village, Inc.   20-51066

     120 02/10/2021 Resident 22234                                        Address Redacted                                                                                              $11,035.25 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

       17 11/30/2020 Resident 22235                                       Address Redacted                                                                                              $82,779.07 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     165 02/23/2021 Resident 22237                                        Address Redacted                                                                                             $95,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     201 03/04/2021 Resident 22238                                        Address Redacted                                                                                            $146,950.00 Secured           Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066




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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1         Address 2   Address 3          City               State   Zip   Country   Claim Amount        Nature                Claim Type                 A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     309 04/22/2021 Resident 22239                                        Address Redacted                                                                                            $157,500.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     197 03/07/2021 Resident 22241                                        Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     197 03/07/2021 Resident 22241                                        Address Redacted                                                                                             $81,475.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     396 12/29/2021 Resident 22241                                        Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim   A     03/07/2021 197                 Henry Ford Village, Inc.   20-51066

     396 12/29/2021 Resident 22241                                        Address Redacted                                                                                             $74,171.23 General Unsecured Former/Current Resident Claim       A     03/07/2021 197                 Henry Ford Village, Inc.   20-51066

     198 03/07/2021 Resident 22242                                        Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     198 03/07/2021 Resident 22242                                        Address Redacted                                                                                             $81,475.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     395 12/29/2021 Resident 22242                                        Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim   A     03/07/2021 198                 Henry Ford Village, Inc.   20-51066

     395 12/29/2021 Resident 22242                                        Address Redacted                                                                                             $74,171.24 General Unsecured Former/Current Resident Claim       A     03/07/2021 198                 Henry Ford Village, Inc.   20-51066

        7 11/24/2020 Resident 22247                                       Address Redacted                                                                                            $124,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

      45 12/16/2020 Resident 22249                                        Address Redacted                                                                                             $49,420.19 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     233 03/31/2021 Resident 22250                                        Address Redacted                                                                                              $3,025.00 Priority          Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066

     233 03/31/2021 Resident 22250                                        Address Redacted                                                                                             $13,940.82 General Unsecured Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066

     312 04/20/2021 Resident 22251                                        Address Redacted                                                                                             $84,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     256 04/13/2021 Resident 22253                                        Address Redacted                                                                                            $224,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       75 01/12/2021 Resident 22254                                       Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

       75 01/12/2021 Resident 22254                                       Address Redacted                                                                                              $1,165.15 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       98 02/02/2021 Resident 22256                                       Address Redacted                                                                                             $83,335.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       58 12/28/2020 Resident 22257                                       Address Redacted                                                                                            $138,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     226 03/25/2021 Resident 22258                                        Address Redacted                                                                                             $85,000.00 General Unsecured Executory Contract Claim                                                 Henry Ford Village, Inc.   20-51066

       87 01/15/2021 Resident 22262                                       Address Redacted                                                                                            $138,898.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       73 01/08/2021 Resident 22264                                       Address Redacted                                                                                             $99,525.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     172 03/02/2021 Resident 22266                                        Address Redacted                                                                                            $137,981.47 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     290 04/20/2021 Resident 22267                                        Address Redacted                                                                                            $218,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       46 12/16/2020 Resident 22269                                       Address Redacted                                                                                             $49,420.19 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
       47 12/18/2020 Resident 22270                                       Address Redacted                                                                                             $88,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     279 04/15/2021 Resident 22272                                        Address Redacted                                                                                             $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       51 12/18/2020 Resident 22274                                       Address Redacted                                                                                            $140,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     213 03/11/2021 Resident 22276                                        Address Redacted                                                                                             $94,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     187 03/04/2021 Resident 22277                                        Address Redacted                                                                                            $165,263.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

      86 01/18/2021 Resident 22278                                        Address Redacted                                                                                             $21,979.42 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     295 04/22/2021 Resident 22279                                        Address Redacted                                                                                            $297,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     280 04/15/2021 Resident 22281                                        Address Redacted                                                                                             $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     320 04/22/2021 Resident 22283                                        Address Redacted                                                                                            $133,000.00 Admin Priority        Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     113 02/05/2021 Resident 22285                                        Address Redacted                                                                                            $132,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     281 04/15/2021 Resident 22286                                        Address Redacted                                                                                             $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     116 02/09/2021 Resident 22291                                        Address Redacted                                                                                            $166,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     148 02/19/2021 Resident 22295                                        Address Redacted                                                                                            $157,226.02 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     148 02/19/2021 Resident 22295                                        Address Redacted                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


       43 12/09/2020 Resident 22296                                       Address Redacted                                                                                            $307,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     117 02/10/2021 Resident 22298                                        Address Redacted                                                                                             $11,035.25 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       59 12/28/2020 Resident 22300                                       Address Redacted                                                                                             $68,014.05 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

       39   12/15/2020   Resident 22301                                   Address Redacted                                                                                             $99,500.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
       70   01/06/2021   Resident 22301                                   Address Redacted                                                                                             $99,500.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
       76   01/12/2021   Resident 22301                                   Address Redacted                                                                                             $99,500.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
       88   01/19/2021   Resident 22302                                   Address Redacted                                                                                            $163,602.81   General Unsecured   Former/Current Resident Claim                    5                   Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name   Creditor Notice Name                Address 1         Address 2   Address 3          City               State   Zip   Country   Claim Amount           Nature               Claim Type             A R   A/R Date   A/R Claim #       Debtor Name             Debtor Number
     350 09/13/2021 Resident 22305                                        Address Redacted                                                                                              $3,025.00 Priority            Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066




     350 09/13/2021 Resident 22305                                        Address Redacted                                                                                            $107,975.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066




     345 08/27/2021 Resident 22306                                        Address Redacted                                                                                            $132,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066
     337 07/19/2021 Resident 22307                                        Address Redacted                                                                                            $111,350.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     145 02/18/2021 Resident 22393                                        Address Redacted                                                                                            $244,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066


     123 02/11/2021 Resident 22394                                        Address Redacted                                                                                            $181,975.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     123 02/11/2021 Resident 22394                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     351 10/05/2021 Resident 22396                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     351 10/05/2021 Resident 22396                                        Address Redacted                                                                                              $71,975.00 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066

     130 02/13/2021 Resident 22397                                        Address Redacted                                                                                              $11,035.25 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066
     139 02/16/2021 Resident 22398                                        Address Redacted                                                                                              $11,035.25 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066

     118 02/10/2021 Resident 22399                                        Address Redacted                                                                                              $11,035.25 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066
     340 08/03/2021 Resident 22400                                        Address Redacted                                                                                              $78,404.94 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066


     342 08/06/2021 Resident 22402                                        Address Redacted                                                                                              $80,000.00 Admin Priority     503(b)(9) Claim                                                Henry Ford Village, Inc.   20-51066

     343 08/11/2021 Resident 22402                                        Address Redacted                                                                                              $80,000.00 Admin Priority     Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     405 01/05/2022 Resident 22603                                        Address Redacted                                                                                            $548,000.00 Priority            Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     399 01/03/2022 Resident 22863                                        Address Redacted                                                                                              $99,000.00 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066


     353 10/22/2021 Resident 22906                                        Address Redacted                                                                                              $75,000.00 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     356 11/05/2021 Resident 22908                                        Address Redacted                                                                                            $101,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     357 11/05/2021 Resident 22909                                        Address Redacted                                                                                               $1,000.00 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066




     357 11/05/2021 Resident 22909                                        Address Redacted                                                                                         UNLIQUIDATED General Unsecured Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066




     358 11/10/2021 Resident 22910                                        Address Redacted                                                                                            $148,875.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     360 11/10/2021 Resident 22911                                        Address Redacted                                                                                            $172,332.93 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066


     361 11/15/2021 Resident 22912                                        Address Redacted                                                                                            $135,117.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066
     362 11/15/2021 Resident 22913                                        Address Redacted                                                                                             $82,268.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066
     363 11/17/2021 Resident 22914                                        Address Redacted                                                                                            $203,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     364 11/18/2021 Resident 22915                                        Address Redacted                                                                                              $97,125.00 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066

     365 11/22/2021 Resident 22916                                        Address Redacted                                                                                              $44,358.89 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066
     366 11/24/2021 Resident 22918                                        Address Redacted                                                                                               $3,025.00 Priority          Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066

     366 11/24/2021 Resident 22918                                        Address Redacted                                                                                              $71,975.00 General Unsecured Former/Current Resident Claim                                   Henry Ford Village, Inc.   20-51066

     367 11/26/2021 Resident 22920                                        Address Redacted                                                                                               $3,025.00 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     367 11/26/2021 Resident 22920                                        Address Redacted                                                                                            $219,975.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     380 12/17/2021 Resident 22934                                        Address Redacted                                                                                            $297,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066


     388 12/22/2021 Resident 22935                                        Address Redacted                                                                                            $196,164.57 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     381 12/17/2021 Resident 22936                                        Address Redacted                                                                                            $172,575.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     415 01/03/2022 Resident 22937                                        Address Redacted                                                                                               $1,214.59 Priority           Former/Current Resident Claim                                  Henry Ford Village, Inc.   20-51066

     372 12/13/2021 Resident 22939                                        Address Redacted                                                                                            $100,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     382 12/17/2021 Resident 22940                                        Address Redacted                                                                                            $156,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     371 12/10/2021 Resident 22943                                        Address Redacted                                                                                            $153,841.33 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066


     383 12/15/2021 Resident 22949                                        Address Redacted                                                                                            $111,900.61 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     379 12/17/2021 Resident 22950                                        Address Redacted                                                                                            $120,000.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066

     402 01/04/2022 Resident 22953                                        Address Redacted                                                                                            $240,750.00 General Unsecured Former/Current Resident Claim                                    Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
Case No. 20-51066 (MAR)                                                                                                               Page 9 of 10

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  Claim
   No. Date Filed                  Creditor Name                     Creditor Notice Name                      Address 1                        Address 2        Address 3                  City             State       Zip      Country   Claim Amount        Nature                Claim Type                 A R   A/R Date        A/R Claim #       Debtor Name             Debtor Number
     406 01/05/2022 Resident 22954                                                                Address Redacted                                                                                                                              $32,740.27 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     374 12/14/2021 Resident 22955                                                                Address Redacted                                                                                                                             $112,308.81 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     389 12/27/2021 Resident 22960                                                                Address Redacted                                                                                                                              $84,535.52 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     407 01/06/2022 Resident 22961                                                                Address Redacted                                                                                                                               $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066


     407 01/06/2022 Resident 22961                                                                Address Redacted                                                                                                                              $69,837.50 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066


     411 01/14/2022 Resident 22964                                                                Address Redacted                                                                                                                               $3,025.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     411 01/14/2022 Resident 22964                                                                Address Redacted                                                                                                                                 $998.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     404 01/05/2022 Resident 22965                                                                Address Redacted                                                                                                                             $123,000.00 Admin Priority        503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066

     403 01/05/2022 Resident 22966                                                                Address Redacted                                                                                                                               $5,549.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     272 04/15/2021 Resident 22971                                                                Address Redacted                                                                                                                             $216,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066
     298 04/21/2021 Resident 22972                                                                Address Redacted                                                                                                                               $3,025.00 Priority          Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     298 04/21/2021 Resident 22972                                                                Address Redacted                                                                                                                              $53,052.43 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     376   12/15/2021   Resident 22974                                                            Address Redacted                                                                                                                                  BLANK    General Unsecured   Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066
     177   03/02/2021   RL Deppmann Co                                                            46575 Magellan Drive                                                       Novi                           MI       48377-2452                    $508.50   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     105   02/04/2021   SCI Floor Covering Inc                 Thomas Shea                        30610 Ecorse Road                                                          Romulus                        MI       48174                      $21,466.79   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     111   02/08/2021   Service Care Industries Inc                                               23040 Schoenherr Road                                                      Warren                         MI       48089                       $1,209.25   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     111   02/08/2021   Service Care Industries Inc                                               23040 Schoenherr Road                                                      Warren                         MI       48089                           $0.00   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     263   04/13/2021   Service Pro Plumbing & Environmental                                      44300 Grand River Avenue                                                   Novi                           MI       48375                      $18,230.00   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
                        Contracting Inc
     163   02/25/2021   Services To Enhance Potential                                             2941 S. Gulley Road                                                        Dearborn                       MI       48124                       $2,969.03   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     237   04/06/2021   SERVICES TO ENHANCE POTENTIAL                                             2941 S. GULLEY ROAD                                                        DEARBORN                       MI       48124                       $2,969.03   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      21   12/04/2020   Smart Business Source                                                     1940 Northwood Dr                                                          Troy                           MI       48084                       $1,402.24   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      24   12/08/2020   Softel Worx DBA Auto Accessories USA   Auto Accessories USA               35501 Central City Pkwy                                                    Westland                       MI       48185                         $920.00   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      38   12/15/2020   Staples Business Advantage             Top Riggleman                      Staples                                 7 Technology Circle                Columbia                       SC       29203                       $1,017.06   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      38   12/15/2020   Staples Business Advantage             Top Riggleman                      Staples                                 7 Technology Circle                Columbia                       SC       29203                       $2,624.80   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      61   12/22/2020   Stericycle Inc                                                            2333 Waukegan Rd Ste 300                                                   Bannockburn                    IL       60015                       $7,729.21   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     216   03/17/2021   Steven Kraninger                                                          13709 N. Martin Way                                                        Mequon                         WI       53097                      $45,000.00   Secured             Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     171   03/01/2021   SwiftReach Networks, LLC               Attn Sarah Reed                    492 Old Connecticut Path, 2nd Floor                                        Framingham                     MA       01701                         $483.06   General Unsecured   Executory Contract Claim                                            Henry Ford Village, Inc.   20-51066
      54   12/21/2020   Sysco Detroit, LLC                     c/o Meghan Wells, Arnall Golden    171 17th Street NW, Suite 2100                                             Atlanta                        GA       30363                      $81,119.59   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
                                                               Gregory LLP
       54 12/21/2020 Sysco Detroit, LLC                        c/o Meghan Wells, Arnall Golden    171 17th Street NW, Suite 2100                                             Atlanta                        GA       30363                      $52,058.39 General Unsecured 503(b)(9) Claim                                                         Henry Ford Village, Inc.   20-51066
                                                               Gregory LLP
     299   04/20/2021   TFG Leasing Fund III, LLC              c/o David M. Eisenberg, Esq.       28400 Northwestern Highway, 2nd Floor                                      Southfield                     MI       48034                      $41,102.88   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      22   12/04/2020   The Danielson Group, P.C.              Attn Kenneth M. Gonko              55921 Gratiot Avenue                                                       Chesterfield                   MI       48051                       $9,594.00   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
       4   11/23/2020   The Image Group, Inc.                                                     1255 Corporate Drive                                                       Holland                        OH       43528                       $2,152.55   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      30   12/04/2020   TimePayment Corp.                                                         1600 District Avenue, Suite 200                                            Burlington                     MA       01803                       $2,100.00   Secured             Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      30   12/04/2020   TimePayment Corp.                                                         1600 District Avenue, Suite 200                                            Burlington                     MA       01803                      $11,676.58   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     344   08/19/2021   TimePayment Corp.                                                         1600 District Avenue, Suite 200                                            Burlington                     MA       01803                      $11,676.58   General Unsecured   Executory Contract Claim        A     12/04/2020 10                 Henry Ford Village, Inc.   20-51066
     341   08/04/2021   Toledo Municipal Court                 Commissioner of Taxation City of   One Government Center, Suite 2070                                          Toledo                         OH       43604                       $2,678.91   Priority            Tax Claim                                                           Henry Ford Village, Inc.   20-51066
                                                               Toledo
     397   12/29/2021   Ugochukwu, Ms. Angela                                                     4819 Cortland Street                                                       Detroit                        MI       48204                  UNLIQUIDATED     Priority            503(b)(9) Claim                       12/22/2021                    Henry Ford Village, Inc.   20-51066
     397   12/29/2021   Ugochukwu, Ms. Angela                                                     4819 Cortland Street                                                       Detroit                        MI       48204                  UNLIQUIDATED     Admin Priority      503(b)(9) Claim                       12/22/2021                    Henry Ford Village, Inc.   20-51066
     305   04/20/2021   UMB Bank, N.A. as Bond Trustee         Eric Blythe                        Mintz Levin                             One Financial Center               Boston                         MA       02111                  UNLIQUIDATED     Secured             Bond/Note Claim                                                     Henry Ford Village, Inc.   20-51066
     126   02/11/2021   United Fish Distributors Inc                                              1349-51 Adelaide Street                                                    Detroit                        MI       48207                      $12,067.69   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     126   02/11/2021   United Fish Distributors Inc                                              1349-51 Adelaide Street                                                    Detroit                        MI       48207                       $6,421.92   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     158   02/17/2021   VFS LLC                                Ted C. Farmer, Attorney for VFS    41000 Woodward Ave., Suite 395 East                                        Bloomfield Hills               MI       48304-5134                 $10,021.09   General Unsecured   Landlord Claim                                                      Henry Ford Village, Inc.   20-51066
                                                               LLC
     200   03/08/2021   VFS LLC                                                                   5827 Terex                                                                 Clarkston                      MI       48346                      $92,981.58   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
       1   11/04/2020   W.W. Grainger, Inc.                                                       401 South Wright Road W4W.R47                                              Janesville                     WI       53546                       $2,213.30   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
       1   11/04/2020   W.W. Grainger, Inc.                                                       401 South Wright Road W4W.R47                                              Janesville                     WI       53546                       $5,629.73   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     107   02/05/2021   Whirlpool Corporation                  Joshua Sublett                     600 W Main Street                                                          Benton Harbor                  MI       49022                       $3,582.00   Admin Priority      503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
     107   02/05/2021   Whirlpool Corporation                  Joshua Sublett                     600 W Main Street                                                          Benton Harbor                  MI       49022                      $15,497.00   General Unsecured   503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066
      92   01/21/2021   Wilkins Floor Covering, Inc.                                              30669 Eight Mile Rd                                                        Livonia                        MI       48152                       $7,555.26   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     302   04/21/2021   William Beaumont Hospital              Maria G Carr                       600 Superior Avenue Suite 2100                                             Cleveland                      OH       44114                      $39,284.54   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     304   04/21/2021   William Beaumont Hospital              Maria G Carr                       600 Superior Avenue Suite 2100                                             Cleveland                      OH       44114                      $39,284.54   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     324   04/26/2021   William Beaumont Hospital              Maria G Carr                       600 Superior Avenue Suite 2100                                             Cleveland                      OH       44114                      $39,284.54   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
     328   05/05/2021   Your Look Logos, LLC                   Kimberly R Kramer                  4109 Brouseville Ave                                                       Lincoln Park                   MI       48146                       $1,855.16   General Unsecured   Trade Claim                                                         Henry Ford Village, Inc.   20-51066
      32   12/08/2020   Zurich-American Insurance Company                                         PO Box 68549                                                               Schaumburg                     IL       60196                           $1.00   General Unsecured   Insurance Claim                                                     Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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               EXHIBIT “B”




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  Claim
   No.      Date Filed                  Creditor Name                       Creditor Notice Name                     Address 1                      Address 2           Address 3                   City             State       Zip      Country   Claim Amount           Nature                   Claim Type            A R   A/R Date       A/R Claim #        Debtor Name            Debtor Number
       1    11/04/2020   W.W. Grainger, Inc.                                                           401 South Wright Road W4W.R47                                                Janesville                      WI       53546                       $2,213.30    Admin Priority      503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       1    11/04/2020   W.W. Grainger, Inc.                                                           401 South Wright Road W4W.R47                                                Janesville                      WI       53546                       $5,629.73    General Unsecured   503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       2    11/18/2020   Dickinson Wright PLLC                        c/o James Plemmons               500 Woodward Avenue, Suite 4000                                              Detroit                         MI       48226                      $55,292.90    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       3    11/23/2020   CRG Financial LLC                            As Assignee of Teresa L. Roman   100 Union Ave                                                                Cresskill                       NJ       07626                     $197,000.00    General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
                                                                      Revocable Living Trust dtd
                                                                      07/26/01
        4 11/23/2020 The Image Group, Inc.                                                             1255 Corporate Drive                                                         Holland                         OH       43528                        $2,152.55 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
        5 11/24/2020 Dover Foods Inc                                                                   353 Banner Farm Road                                                         Mills River                     NC       28759                         $632.27 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
        6 11/24/2020 Resident 22168                                                                    Address Redacted                                                                                                                                  $66,600.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

        7 11/24/2020 Resident 22247                                                                    Address Redacted                                                                                                                                $124,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

        8 11/25/2020 Resident 22208                                                                    Address Redacted                                                                                                                             UNLIQUIDATED General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

        9   10/30/2020   Ford Motor Credit Company, LLC                                                PO Box 62180                                                                 Colorado Springs                CO       80962-2180                 $10,127.67    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       10   10/30/2020   Ford Motor Credit Company, LLC                                                PO Box 62180                                                                 Colorado Springs                CO       80962-2180                  $8,898.60    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       11   11/16/2020   Comerica Bank                                Gary P. Mach                     3551 Hamlin Rd., MC 7356                                                     Auburn Hills                    MI       48326                            W/D     General Unsecured   Lender Claim                                                       Henry Ford Village, Inc.   20-51066
       12   11/25/2020   Direct Supply, Inc.                                                           6767 N Industrial Rd.                                                        Milwaukee                       WI       53223                       $3,734.48    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       13   11/10/2020   CIT Finance, LLC                                                              PO Box 593007                                                                San Antonio                     TX       78259                         $735.14    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       14   11/25/2020   Resident 21732                                                                Address Redacted                                                                                                                                $141,000.00    General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       15 11/30/2020 Resident 22229                                                                    Address Redacted                                                                                                                                  $97,125.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       16 11/30/2020 Compsych Corporation                             Robert Mallers, CFO - Compsych   455 N. CityFront Plaza Dr. NBC Tower                                         Chicago                         IL       60611                        $8,446.48 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
                                                                                                       13th Fl
       17 11/30/2020 Resident 22235                                                                    Address Redacted                                                                                                                                  $82,779.07 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       18 11/30/2020 Award Company of America, LLC                    Award Company of America         6350 Old Montgomery Hwy                                                      Tuscaloosa                      AL       35405                        $1,375.05 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
       19 12/01/2020 Resident 22167                                                                    Address Redacted                                                                                                                                  $84,802.96 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       20   12/02/2020   Pm Technologies                                                               28294 Beck Road                                                              Wixom                           MI       48393                       $2,775.00    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       21   12/04/2020   Smart Business Source                                                         1940 Northwood Dr                                                            Troy                            MI       48084                       $1,402.24    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       22   12/04/2020   The Danielson Group, P.C.                    Attn Kenneth M. Gonko            55921 Gratiot Avenue                                                         Chesterfield                    MI       48051                       $9,594.00    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       23   12/07/2020   Resident 22011                                                                Address Redacted                                                                                                                                $195,000.00    General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066


       24 12/08/2020 Softel Worx DBA Auto Accessories USA             Auto Accessories USA             35501 Central City Pkwy                                                      Westland                        MI       48185                         $920.00 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
       25 12/08/2020 Resident 22186                                                                    Address Redacted                                                                                                                                  $17,672.00 Priority         Former/Current Resident Claim              11/30/2020                   Henry Ford Village, Inc.   20-51066

       26 12/08/2020 Control Solutions, Inc                                                            8535 Bryon Commerce Dr. SW, Suite A                                          Byron Center                    MI       49315                      $45,000.00 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
       27 12/03/2020 Department of Treasury - Internal Revenue        Internal Revenue Service         PO Box 7346                                                                  Philadelphia                    PA       19101-7346                $625,915.90 Priority          Tax Claim                                                               Henry Ford Village, Inc.   20-51066
                     Service
       27 12/03/2020 Department of Treasury - Internal Revenue        Internal Revenue Service         PO Box 7346                                                                  Philadelphia                    PA       19101-7346                $192,676.36 General Unsecured Tax Claim                                                               Henry Ford Village, Inc.   20-51066
                     Service
       28 12/04/2020 Department of Treasury - Internal Revenue        Internal Revenue Service         PO Box 7346                                                                  Philadelphia                    PA       19101-7346                $509,720.79 Priority               Tax Claim                       A     12/03/2020 8                 Henry Ford Village, Inc.   20-51066
                     Service
       29 12/03/2020 Resident 21827                                                                    Address Redacted                                                                                                                                $163,964.27 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       30   12/04/2020   TimePayment Corp.                                                             1600 District Avenue, Suite 200                                              Burlington                      MA       01803                       $2,100.00    Secured             Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       30   12/04/2020   TimePayment Corp.                                                             1600 District Avenue, Suite 200                                              Burlington                      MA       01803                      $11,676.58    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       31   12/08/2020   Butzel Long, P.C.                            c/o Max Newman                   41000 Woodward Ave.                    Stoneridge West                       Bloomfield Hills                MI       48304                     $114,132.45    General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       32   12/08/2020   Zurich-American Insurance Company                                             PO Box 68549                                                                 Schaumburg                      IL       60196                           $1.00    General Unsecured   Insurance Claim                                                    Henry Ford Village, Inc.   20-51066
       33   12/04/2020   Resident 22102                                                                Address Redacted                                                                                                                                $185,171.01    General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       34 12/08/2020 Resident 22231                                                                    Address Redacted                                                                                                                                $233,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       35 12/04/2020 Del Bene Produce, Inc., a Michigan Corporation   Attn Kathy Dillon                Del Bene Produce, Inc.                 2900 Rivard Street                    Detroit                         MI       48207                       $12,585.28 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066

       36 12/10/2020 Noble Pest Control LLC                           Noble Pest Control               PO Box 1494                                                                  Troy                            MI       48099                        $600.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
       37 12/11/2020 Resident 22040                                                                    Address Redacted                                                                                                                                $198,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       38   12/15/2020   Staples Business Advantage                   Top Riggleman                    Staples                                7 Technology Circle                   Columbia                        SC       29203                        $1,017.06   Admin Priority      503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       38   12/15/2020   Staples Business Advantage                   Top Riggleman                    Staples                                7 Technology Circle                   Columbia                        SC       29203                        $2,624.80   General Unsecured   503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       39   12/15/2020   Resident 22301                                                                Address Redacted                                                                                                                                  $99,500.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
       40   12/15/2020   Resident 22011                                                                Address Redacted                                                                                                                                        W/D    General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066


       41 12/11/2020 Resident 22045                                                                    Address Redacted                                                                                                                                   $3,025.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       41 12/11/2020 Resident 22045                                                                    Address Redacted                                                                                                                                  $21,878.44 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       42 12/11/2020 Capital One Bank (USA), N.A. by American                                          4515 N Santa Fe Ave                                                          Oklahoma City                   OK       73118                        $1,998.16 General Unsecured Lender Claim                                                           Henry Ford Village, Inc.   20-51066
                     InfoSource as Agent
       43 12/09/2020 Resident 22296                                                                    Address Redacted                                                                                                                                $307,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       44 12/14/2020 OneCare LTC, LLC                                 c/o David T. Lin, Esq .          Seyburn Kahn, P.C.                     2000 Town Center - Ste.               Southfield                      MI       48075                       $53,777.65 Admin Priority        Trade Claim                                                        Henry Ford Village, Inc.   20-51066
                                                                                                                                              1500
       44 12/14/2020 OneCare LTC, LLC                                 c/o David T. Lin, Esq .          Seyburn Kahn, P.C.                     2000 Town Center - Ste.               Southfield                      MI       48075                     $694,944.22 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
                                                                                                                                              1500
       45 12/16/2020 Resident 22249                                                                    Address Redacted                                                                                                                                  $49,420.19 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       46 12/16/2020 Resident 22269                                                                    Address Redacted                                                                                                                                  $49,420.19 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       47 12/18/2020 Resident 22270                                                                    Address Redacted                                                                                                                                  $88,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       48 12/18/2020 Resident 22138                                                                    Address Redacted                                                                                                                                $118,551.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       49 12/21/2020 CRG Financial LLC                                As Assignee of the Pauline P.    100 Union Ave                                                                Cresskill                       NJ       07626                       $75,081.88 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
                                                                      Doubek Living Trust
       50 12/09/2020 Resident 21849                                                                    Address Redacted                                                                                                                                  $83,717.23 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       51 12/18/2020 Resident 22274                                                                    Address Redacted                                                                                                                                $140,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       52 12/15/2020 Resident 22041                                                                    Address Redacted                                                                                                                                $187,247.40 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

       53 12/16/2020 Resident 22041                                                                    Address Redacted                                                                                                                                $188,247.40 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
Case No. 20-51066 (MAR)                                                                                                                                                                           Page 1 of 10

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  Claim
   No. Date Filed                    Creditor Name                   Creditor Notice Name                          Address 1                   Address 2   Address 3                  City              State       Zip      Country   Claim Amount        Nature                     Claim Type            A R   A/R Date       A/R Claim #       Debtor Name             Debtor Number
      54 12/21/2020 Sysco Detroit, LLC                          c/o Meghan Wells, Arnall Golden    171 17th Street NW, Suite 2100                                      Atlanta                         GA       30363                      $81,119.59 Admin Priority        503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
                                                                Gregory LLP
       54 12/21/2020 Sysco Detroit, LLC                         c/o Meghan Wells, Arnall Golden    171 17th Street NW, Suite 2100                                      Atlanta                         GA       30363                      $52,058.39 General Unsecured 503(b)(9) Claim                                                        Henry Ford Village, Inc.   20-51066
                                                                Gregory LLP
       55   12/23/2020   Fire Alarm Service Team, LLC                                              4023 S Old Highway 23                                               Brighton                        MI       48114                      $26,544.00   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       56   12/23/2020   Cochran Brothers Dist. Inc.                                               27060 Trolley Industrial Dr                                         Taylor                          MI       48180                       $1,411.33   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       57   12/23/2020   HD Supply Facilities Maintenance                                          101 Riverview Parkway                                               Santee                          CA       92071                       $1,823.50   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       58   12/28/2020   Resident 22257                                                            Address Redacted                                                                                                                       $138,000.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       59 12/28/2020 Resident 22300                                                                Address Redacted                                                                                                                        $68,014.05 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       60 12/28/2020 Argo Partners                                                                 12 West 37th Street, Ste. 900                                       New York                        NY       10018                      $95,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       61 12/22/2020 Stericycle Inc                                                                2333 Waukegan Rd Ste 300                                            Bannockburn                     IL       60015                       $7,729.21 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
       62 12/23/2020 Resident 22196                                                                Address Redacted                                                                                                                         $3,025.00 Priority          Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       62 12/23/2020 Resident 22196                                                                Address Redacted                                                                                                                       $143,575.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       63 12/23/2020 Resident 22103                                                                Address Redacted                                                                                                                       $139,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       64 12/30/2020 Resident 22107                                                                Address Redacted                                                                                                                       $163,000.00 General Unsecured Executory Contract Claim                                               Henry Ford Village, Inc.   20-51066


       65   01/04/2021   Fairlane Ford Sales Inc                                                   14585 Michigan Ave                                                  Dearborn                        MI       48126-3438                     $45.95   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       66   01/04/2021   Resident 22134                                                            Address Redacted                                                                                                                        $19,717.80   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
       67   01/05/2021   Leader Printing and Mailing                                               25034 W. Warren St.                                                 Dearborn Hts.                   MI       48127                       $1,023.84   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       68   01/05/2021   Resident 21965                                                            Address Redacted                                                                                                                       $140,000.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       69 01/05/2021 Norma Hood and Grewal Law, PLLC            Gurrajan Gill                      345 Cady Street, 3rd Floor                                          Northville                      MI       48167                     $509,127.83 General Unsecured Litigation Claim                                                       Henry Ford Village, Inc.   20-51066
       70 01/06/2021 Resident 22301                                                                Address Redacted                                                                                                                        $99,500.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       71 01/06/2021 Resident 22213                                                                Address Redacted                                                                                                                        $42,634.06 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       72 01/11/2021 Resident 21865                                                                Address Redacted                                                                                                                        $88,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       73 01/08/2021 Resident 22264                                                                Address Redacted                                                                                                                        $99,525.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       74 01/11/2021 Resident 22099                                                                Address Redacted                                                                                                                       $139,310.07 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       75 01/12/2021 Resident 22254                                                                Address Redacted                                                                                                                         $3,025.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       75 01/12/2021 Resident 22254                                                                Address Redacted                                                                                                                         $1,165.15 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       76   01/12/2021   Resident 22301                                                            Address Redacted                                                                                                                        $99,500.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
       77   01/12/2021   Direct Energy Business Marketing LLC   Direct Energy - A/R Dept           194 Wood Ave South - 2nd Fl                                         Iselin                          NJ       08830                         $914.48   Admin Priority      503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       77   01/12/2021   Direct Energy Business Marketing LLC   Direct Energy - A/R Dept           194 Wood Ave South - 2nd Fl                                         Iselin                          NJ       08830                      $19,983.33   General Unsecured   503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
       78   01/12/2021   Pitney Bowes Inc                                                          27 Waterview Dr, 3rd Fl                                             Shelton                         CT       06484                         $911.40   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       79   01/12/2021   Resident 22043                                                            Address Redacted                                                                                                                        $90,000.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

       80 01/13/2021 Resident 22114                                                                Address Redacted                                                                                                                       $223,076.87 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       81 01/13/2021 Ecolab                                                                        P.O. Box 70343                                                      Chicago                         IL       60673-0343                   $468.88 Admin Priority     503(b)(9) Claim                                                        Henry Ford Village, Inc.   20-51066
       81 01/13/2021 Ecolab                                                                        P.O. Box 70343                                                      Chicago                         IL       60673-0343                   $671.18 General Unsecured 503(b)(9) Claim                                                         Henry Ford Village, Inc.   20-51066
       82 01/07/2021 Resident 22033                                                                Address Redacted                                                                                                                       $221,568.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       83 01/14/2021 Resident 22183                                                                Address Redacted                                                                                                                       $183,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       84 01/13/2021 Resident 21840                                                                Address Redacted                                                                                                                       $200,240.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


       85 01/07/2021 Resident 21910                                                                Address Redacted                                                                                                                       $152,234.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       86 01/18/2021 Resident 22278                                                                Address Redacted                                                                                                                        $21,979.42 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       87 01/15/2021 Resident 22262                                                                Address Redacted                                                                                                                       $138,898.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       88 01/19/2021 Resident 22302                                                                Address Redacted                                                                                                                       $163,602.81 General Unsecured Former/Current Resident Claim                        5                 Henry Ford Village, Inc.   20-51066




       89 01/20/2021 Bradford Capital Holdings, LP              Brian L. Brager                    P.O. Box 4353                                                       Clifton                         NJ       07012                     $142,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
       90 01/20/2021 Resident 22195                                                                Address Redacted                                                                                                                       $120,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

       91 01/21/2021 LED ProValue                               William Tortora                    310 E 46 Street 20L                                                 New York                        NY       10017                       $4,378.03 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
       92 01/21/2021 Wilkins Floor Covering, Inc.                                                  30669 Eight Mile Rd                                                 Livonia                         MI       48152                       $7,555.26 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
       93 01/28/2021 CRG Financial LLC                          As Assignee of Stefania Stoenica   100 Union Ave                                                       Cresskill                       NJ       07626                     $183,000.85 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
                                                                f/k/a Stefania Gradinary as
                                                                Beneficiary of Former Resident
                                                                Mary Rozich
       94   02/01/2021   American Quality Foods                                                    353 Banner Farm Road                                                Mills River                     NC       28759-8707                    $293.64   General Unsecured   Trade Claim                     A     11/17/2020 Dover Foods Inc   Henry Ford Village, Inc.   20-51066
       95   02/01/2021   Jackson Service Company                                                   3218 Old Farm Lane                                                  Commerce Twp                    MI       48390                       $1,160.50   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       96   02/02/2021   Core Electric Company Inc                                                 25125 West Outer Drive                                              Melvindale                      MI       48122-1939                    $510.00   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
       97   02/02/2021   Resident 22215                                                            Address Redacted                                                                                                                        $60,750.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066


       98 02/02/2021 Resident 22256                                                                Address Redacted                                                                                                                        $83,335.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

      99    02/03/2021   Fire Alarm Service Team LLC            Laura Jonik                        4023 S Old US Highway 23, Suite 107                                 Brighton                        MI       48114                       $5,387.50   Admin Priority      503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
      99    02/03/2021   Fire Alarm Service Team LLC            Laura Jonik                        4023 S Old US Highway 23, Suite 107                                 Brighton                        MI       48114                      $15,402.50   General Unsecured   503(b)(9) Claim                                                    Henry Ford Village, Inc.   20-51066
     100    02/03/2021   Horizon Healthcare Supply Inc          c/o Jennifer Rilea, AR/AP          6100 Waseca Street                    Suite 150                     Duluth                          MN       55807                         $629.58   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     101    02/03/2021   Michigan Filter Fleet Supply                                              3330 Dixie Hwy                                                      Waterford                       MI       48328                         $209.55   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     102    01/29/2021   Resident 21924                                                            Address Redacted                                                                                                                       $100,000.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     103 02/01/2021 Argo Partners                                                                  12 West 37th Street, Ste. 900                                       New York                        NY       10018                       $2,753.93 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
     104 01/29/2021 Resident 22112                                                                 Address Redacted                                                                                                                       $204,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     105 02/04/2021 SCI Floor Covering Inc                      Thomas Shea                        30610 Ecorse Road                                                   Romulus                         MI       48174                      $21,466.79 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066



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  Claim
   No. Date Filed                  Creditor Name              Creditor Notice Name                     Address 1                Address 2    Address 3                City                State       Zip      Country   Claim Amount           Nature                 Claim Type             A R   A/R Date      A/R Claim #       Debtor Name             Debtor Number
     106 02/04/2021 Resident 22205                                                        Address Redacted                                                                                                                    $3,025.00 Priority              Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     106 02/04/2021 Resident 22205                                                        Address Redacted                                                                                                                  $143,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     107   02/05/2021   Whirlpool Corporation           Joshua Sublett                    600 W Main Street                                              Benton Harbor                   MI       49022                       $3,582.00   Admin Priority      503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     107   02/05/2021   Whirlpool Corporation           Joshua Sublett                    600 W Main Street                                              Benton Harbor                   MI       49022                      $15,497.00   General Unsecured   503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     108   02/03/2021   OFFICETEAM                      RECOVERY DEPT                     ROBERT HALF                      PO BOX 5024                   SAN RAMON                       CA       94583                       $7,774.92   General Unsecured   Trade Claim                                                       Henry Ford Village, Inc.   20-51066
     109   02/05/2021   IPFS Corporation                                                  30 Montgomery Street Suite 501                                 Jersey City                     NJ       07302                            W/D    Secured             Lender Claim                                                      Henry Ford Village, Inc.   20-51066
     110   02/05/2021   Resident 20558                                                    Address Redacted                                                                                                                  $153,370.00   General Unsecured   Former/Current Resident Claim   A     02/04/2021                  Henry Ford Village, Inc.   20-51066

     110 02/05/2021 Resident 20558                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim   A     02/04/2021                  Henry Ford Village, Inc.   20-51066

     111 02/08/2021 Service Care Industries Inc                                           23040 Schoenherr Road                                          Warren                          MI       48089                        $1,209.25 Admin Priority    503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     111 02/08/2021 Service Care Industries Inc                                           23040 Schoenherr Road                                          Warren                          MI       48089                            $0.00 General Unsecured 503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     112 02/05/2021 Resident 21980                                                        Address Redacted                                                                                                                    $93,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     113 02/05/2021 Resident 22285                                                        Address Redacted                                                                                                                  $132,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     114 02/08/2021 Resident 20089                                                        Address Redacted                                                                                                                    $60,672.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     115 02/08/2021 Mustang Fence Company LLC                                             3244 Wyoming                                                   Dearborn                        MI       48120                        $680.00 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
     116 02/09/2021 Resident 22291                                                        Address Redacted                                                                                                                  $166,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     117 02/10/2021 Resident 22298                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     118 02/10/2021 Resident 22399                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     119 02/10/2021 Auto Acessories USA Inc                                               35501 Central City Parkway                                     Westland                        MI       48185                         $920.00 General Unsecured Trade Claim                                                           Henry Ford Village, Inc.   20-51066
     120 02/10/2021 Resident 22234                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     121 02/11/2021 Resident 21499                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     122 02/11/2021 Modernistic Cleaning Services Inc   MCC                               1460 Rankin Dr                                                 Troy                            MI       48083                       $5,209.72 General Unsecured Trade Claim                                                           Henry Ford Village, Inc.   20-51066
     123 02/11/2021 Resident 22394                                                        Address Redacted                                                                                                                  $181,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     123 02/11/2021 Resident 22394                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     124 02/11/2021 Resident 21875                                                        Address Redacted                                                                                                                  $142,119.00 General Unsecured Former/Current Resident Claim       A     11/11/2020 14840184         Henry Ford Village, Inc.   20-51066

     125 02/11/2021 Resident 22220                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     126 02/11/2021 United Fish Distributors Inc                                          1349-51 Adelaide Street                                        Detroit                         MI       48207                       $12,067.69 General Unsecured 503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     126 02/11/2021 United Fish Distributors Inc                                          1349-51 Adelaide Street                                        Detroit                         MI       48207                        $6,421.92 Admin Priority    503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     127 02/12/2021 Resident 21680                                                        Address Redacted                                                                                                                    $95,777.34 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     128 02/15/2021 Resident 22169                                                        Address Redacted                                                                                                                  $110,500.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     129   02/15/2021   Resident 22133                                                    Address Redacted                                                                                                                   $19,717.80   General Unsecured   Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066
     130   02/13/2021   Resident 22397                                                    Address Redacted                                                                                                                   $11,035.25   General Unsecured   Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066
     131   02/10/2021   Argo Partners                                                     12 West 37th Street, Ste. 900                                  New York                        NY       10018                      $93,000.00   General Unsecured   Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066
     132   02/10/2021   Cross Country Staffing          c/o Jonathan Neil & Assoc. Inc.   P.O. Box 7000                                                  Tarzana                         CA       91357                      $18,697.13   General Unsecured   Trade Claim                                                       Henry Ford Village, Inc.   20-51066
     133   02/05/2021   Resident 21957                                                    Address Redacted                                                                                                                  $117,803.77   General Unsecured   Former/Current Resident Claim   A                                 Henry Ford Village, Inc.   20-51066

     134 02/14/2021 Resident 20057                                                        Address Redacted                                                                                                                    $69,284.96 Secured              Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     134 02/14/2021 Resident 20057                                                        Address Redacted                                                                                                                         $0.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     135 02/16/2021 Resident 20443                                                        Address Redacted                                                                                                                  $157,413.66 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     135 02/16/2021 Resident 20443                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     136 02/16/2021 Resident 21686                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     136 02/16/2021 Resident 21686                                                        Address Redacted                                                                                                               UNLIQUIDATED General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     137 02/16/2021 Resident 22177                                                        Address Redacted                                                                                                                  $169,044.65 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     138 02/16/2021 Driven Solutions Inc                                                  404 E 10 Mile Road, Suite 100                                  Pleasant Ridge                  MI       48069                       $64,151.26 General Unsecured 503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     138 02/16/2021 Driven Solutions Inc                                                  404 E 10 Mile Road, Suite 100                                  Pleasant Ridge                  MI       48069                       $67,424.16 Admin Priority    503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     139 02/16/2021 Resident 22398                                                        Address Redacted                                                                                                                    $11,035.25 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     140   02/17/2021   Liberty Plumbing Supply                                           29101 Michigan Ave                                             Inkster                         MI       48141-0390                  $3,616.64   Admin Priority      503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     140   02/17/2021   Liberty Plumbing Supply                                           29101 Michigan Ave                                             Inkster                         MI       48141-0390                     $53.25   General Unsecured   503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     141   02/17/2021   Leonards Syrups                                                   4601 Nancy Street                                              Detroit                         MI       48212                       $1,639.50   General Unsecured   503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     141   02/17/2021   Leonards Syrups                                                   4601 Nancy Street                                              Detroit                         MI       48212                         $313.20   Admin Priority      503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     142   02/17/2021   David W. Ringe                                                    W343N5238 Gietzen Rd                                           Okauchee                        WI       53069                      $45,000.00   Admin Priority      503(b)(9) Claim                                                   Henry Ford Village, Inc.   20-51066
     143   02/17/2021   Resident 20116                                                    Address Redacted                                                                                                                  $136,950.00   General Unsecured   Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066

     144 02/18/2021 Resident 21920                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim   A     02/12/2021                  Henry Ford Village, Inc.   20-51066

     144 02/18/2021 Resident 21920                                                        Address Redacted                                                                                                                    $92,752.34 General Unsecured Former/Current Resident Claim      A     02/12/2021                  Henry Ford Village, Inc.   20-51066

     145 02/18/2021 Resident 22393                                                        Address Redacted                                                                                                                  $244,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     146 02/18/2021 Resident 21815                                                        Address Redacted                                                                                                                    $99,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     147 02/18/2021 Resident 21963                                                        Address Redacted                                                                                                                          W/D General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     148 02/19/2021 Resident 22295                                                        Address Redacted                                                                                                                  $157,226.02 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     148 02/19/2021 Resident 22295                                                        Address Redacted                                                                                                                     $3,025.00 Priority             Former/Current Resident Claim                                     Henry Ford Village, Inc.   20-51066


     149 02/22/2021 Resident 21833                                                        Address Redacted                                                                                                                    $11,953.50 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name                     Creditor Notice Name                      Address 1                Address 2   Address 3                  City              State       Zip      Country   Claim Amount        Nature                Claim Type                 A R   A/R Date       A/R Claim #       Debtor Name             Debtor Number
     150 02/22/2021 Resident 22052                                                                Address Redacted                                                                                                                  $11,953.50 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     151 02/22/2021 Resident 21816                                                                Address Redacted                                                                                                                  $11,035.25 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     152   02/22/2021   Direct Supply, Inc.                                                       6767 N Industrial Rd.                                         Milwaukee                       WI       53223                       $3,734.48   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     153   02/22/2021   Resident 21944                                                            Address Redacted                                                                                                                 $138,975.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     153   02/22/2021   Resident 21944                                                            Address Redacted                                                                                                                   $3,025.00   Priority            Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     154   02/22/2021   Resident 21929                                                            Address Redacted                                                                                                                  $11,953.50   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     155   02/23/2021   Aetna, Inc.                             Aaron McCollough                  77 West Wacker Drive Ste 4100                                 Chicago                         IL       60601-1818                       W/D    General Unsecured   Insurance Claim                                                    Henry Ford Village, Inc.   20-51066
     156   02/23/2021   Bradford Capital Holdings, LP           Brian L. Brager                   P.O. Box 4353                                                 Clifton                         NJ       07012                     $142,095.42   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     156   02/23/2021   Bradford Capital Holdings, LP           Brian L. Brager                   P.O. Box 4353                                                 Clifton                         NJ       07012                       $3,025.00   Priority            Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     157   02/12/2021   McKesson Medical-Surgical, Inc.                                           6651 Gate Parkway                                             Jacksonville                    FL       32256                      $53,204.26   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     158   02/17/2021   VFS LLC                                 Ted C. Farmer, Attorney for VFS   41000 Woodward Ave., Suite 395 East                           Bloomfield Hills                MI       48304-5134                 $10,021.09   General Unsecured   Landlord Claim                                                     Henry Ford Village, Inc.   20-51066
                                                                LLC
     159 02/12/2021 Resident 21806                                                                Address Redacted                                                                                                                     BLANK General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     160   02/24/2021   Argo Partners                                                             12 West 37th Street, Ste. 900                                 New York                        NY       10018                       $3,025.00   Priority            Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     160   02/24/2021   Argo Partners                                                             12 West 37th Street, Ste. 900                                 New York                        NY       10018                     $155,975.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     161   02/24/2021   Digital Assurance Certification         DAC Billing                       315 East Robinson Street Suite 300                            Orlando                         FL       32801                       $3,000.00   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     162   02/24/2021   First Choice Coffee Services                                              1460 Combermere                                               Troy                            MI       48083                       $1,085.40   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     163   02/25/2021   Services To Enhance Potential                                             2941 S. Gulley Road                                           Dearborn                        MI       48124                       $2,969.03   General Unsecured   Trade Claim                                                        Henry Ford Village, Inc.   20-51066
     164   02/25/2021   Resident 20673                                                            Address Redacted                                                                                                                 $113,975.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     164 02/25/2021 Resident 20673                                                                Address Redacted                                                                                                                   $3,025.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     165 02/23/2021 Resident 22237                                                                Address Redacted                                                                                                                  $95,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     166 02/26/2021 Resident 21976                                                                Address Redacted                                                                                                                 $152,250.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     167 02/26/2021 Resident 22166                                                                Address Redacted                                                                                                                 $248,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     168 02/26/2021 Argo Partners                                                                 12 West 37th Street, Ste. 900                                 New York                        NY       10018                     $143,899.71 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     169 03/01/2021 Department of Treasury - Internal Revenue   Internal Revenue Service          PO Box 7346                                                   Philadelphia                    PA       19101-7346                $529,299.97 Priority          Tax Claim                           A     12/03/2020 8                 Henry Ford Village, Inc.   20-51066
                    Service
     169 03/01/2021 Department of Treasury - Internal Revenue   Internal Revenue Service          PO Box 7346                                                   Philadelphia                    PA       19101-7346                  $2,179.52 General Unsecured Tax Claim                           A     12/03/2020 8                 Henry Ford Village, Inc.   20-51066
                    Service
     170 03/01/2021 Bradford Capital Holdings, LP               Brian L. Brager                   P.O. Box 4353                                                 Clifton                         NJ       07012                      $76,500.00   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     171 03/01/2021 SwiftReach Networks, LLC                    Attn Sarah Reed                   492 Old Connecticut Path, 2nd Floor                           Framingham                      MA       01701                        $483.06    General Unsecured   Executory Contract Claim                                           Henry Ford Village, Inc.   20-51066
     172 03/02/2021 Resident 22266                                                                Address Redacted                                                                                                                 $137,981.47   General Unsecured   Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066
     173 03/02/2021 Resident 20392                                                                Address Redacted                                                                                                                 $152,000.00   Priority            Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     173 03/02/2021 Resident 20392                                                                Address Redacted                                                                                                                       $0.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     174 03/02/2021 Resident 21644                                                                Address Redacted                                                                                                                   $3,025.00 Priority          Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     174 03/02/2021 Resident 21644                                                                Address Redacted                                                                                                                 $143,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     175 03/02/2021 Resident 22201                                                                Address Redacted                                                                                                                 $159,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     176 03/02/2021 Resident 22193                                                                Address Redacted                                                                                                                  $72,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     177 03/02/2021 RL Deppmann Co                                                                46575 Magellan Drive                                          Novi                            MI       48377-2452                   $508.50 General Unsecured Trade Claim                                                             Henry Ford Village, Inc.   20-51066
     178 03/03/2021 Resident 22153                                                                Address Redacted                                                                                                                 $146,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     179 03/03/2021 Resident 22227                                                                Address Redacted                                                                                                                 $141,000.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     180 03/01/2021 Resident 22198                                                                Address Redacted                                                                                                                 $140,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     181 03/01/2021 Argo Partners                                                                 12 West 37th Street, Ste. 900                                 New York                        NY       10018                     $143,899.71 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     182 03/01/2021 Resident 21858                                                                Address Redacted                                                                                                                   $3,025.00 Priority          Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     182 03/01/2021 Resident 21858                                                                Address Redacted                                                                                                                     $239.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     183 03/03/2021 Bewick Publications Inc                     Times-Herald Newspapers/Sunday PO Box 706                                                       Dearborn                        MI       48121-0706                    $300.00 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
                                                                Times
     184 03/03/2021 Resident 21728                                                             Address Redacted                                                                                                                     $78,000.00 Secured               Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     185 03/03/2021 Resident 22224                                                                Address Redacted                                                                                                                   $3,025.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066


     185 03/03/2021 Resident 22224                                                                Address Redacted                                                                                                                 $153,220.20 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     186 03/03/2021 Resident 21731                                                                Address Redacted                                                                                                                   $3,025.00 Priority              Former/Current Resident Claim                                      Henry Ford Village, Inc.   20-51066

     186 03/03/2021 Resident 21731                                                                Address Redacted                                                                                                                  $85,975.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     187 03/04/2021 Resident 22277                                                                Address Redacted                                                                                                                 $165,263.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     188 03/04/2021 Resident 22185                                                                Address Redacted                                                                                                                 $158,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     189 03/05/2021 Resident 21823                                                                Address Redacted                                                                                                                 $188,469.86 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     190 03/05/2021 Resident 22002                                                                Address Redacted                                                                                                                  $78,075.00 General Unsecured Former/Current Resident Claim       A     03/05/2021                   Henry Ford Village, Inc.   20-51066

     191 03/05/2021 Resident 21926                                                                Address Redacted                                                                                                                 $113,376.87 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     192 03/05/2021 Argo Partners                                                                 12 West 37th Street, Ste. 900                                 New York                        NY       10018                     $169,000.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     193 03/05/2021 Resident 22003                                                                Address Redacted                                                                                                                  $78,075.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
Case No. 20-51066 (MAR)                                                                                                                                                     Page 4 of 10

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  Claim
   No. Date Filed                  Creditor Name         Creditor Notice Name                      Address 1                      Address 2           Address 3                  City              State      Zip   Country   Claim Amount        Nature                Claim Type                 A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     194 03/05/2021 Resident 22092                                                    Address Redacted                                                                                                                            $26,036.86 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066




     194 03/05/2021 Resident 22092                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




     195 03/06/2021 Resident 21798                                                    Address Redacted                                                                                                                           $169,818.81 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     195 03/06/2021 Resident 21798                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     196 03/06/2021 Resident 22233                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim   A     03/06/2021                     Henry Ford Village, Inc.   20-51066

     196 03/06/2021 Resident 22233                                                    Address Redacted                                                                                                                           $169,818.81 General Unsecured Former/Current Resident Claim       A     03/06/2021                     Henry Ford Village, Inc.   20-51066

     197 03/07/2021 Resident 22241                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     197 03/07/2021 Resident 22241                                                    Address Redacted                                                                                                                            $81,475.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     198 03/07/2021 Resident 22242                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     198 03/07/2021 Resident 22242                                                    Address Redacted                                                                                                                            $81,475.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     199 03/05/2021 Life Care Services LLC         David A. Lerner, Esq               Plunkett Cooney                       38505 Woodward Ave,                   Bloomfield Hills                MI       48304               $2,850,111.00 General Unsecured Executory Contract Claim                                                 Henry Ford Village, Inc.   20-51066
                                                                                                                            Ste 100
     200 03/08/2021 VFS LLC                                                           5827 Terex                                                                  Clarkston                       MI       48346                  $92,981.58 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     201 03/04/2021 Resident 22238                                                    Address Redacted                                                                                                                           $146,950.00 Secured           Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     202 03/08/2021 Driven Solutions, Inc.         c/o Eric A. Parzianello, Esq.      801 West Ann Arbor Trail, Suite 240                                         Plymouth                        MI       48170                 $131,575.42 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     203 03/09/2021 OneCare LTC, LLC               c/o David T. Lin, Esq .            Seyburn Kahn, P.C.                    2000 Town Center - Ste.               Southfield                      MI       48075                  $28,600.89 Admin Priority    503(b)(9) Claim                                                          Henry Ford Village, Inc.   20-51066
                                                                                                                            1500
     204 03/09/2021 Resident 22197                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim   A     03/09/2021 68                  Henry Ford Village, Inc.   20-51066

     204 03/09/2021 Resident 22197                                                    Address Redacted                                                                                                                           $126,261.00 General Unsecured Former/Current Resident Claim       A     03/09/2021 68                  Henry Ford Village, Inc.   20-51066

     205 03/09/2021 Resident 21881                                                    Address Redacted                                                                                                                           $132,000.00 General Unsecured Former/Current Resident Claim       A     02/05/2021 47                  Henry Ford Village, Inc.   20-51066




     206 03/09/2021 Resident 20168                                                    Address Redacted                                                                                                                            $96,009.10 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     206 03/09/2021 Resident 20168                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     207 03/09/2021 Life Care Services LLC         David A. Lerner, Esq               Plunkett Cooney                       38505 Woodward Ave,                   Bloomfield Hills                MI       48304               $2,850,111.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
                                                                                                                            Ste 100
     208 03/09/2021 Argo Partners                                                     12 West 37th Street, Ste. 900                                               New York                        NY       10018                   $3,025.00 Priority          Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     208 03/09/2021 Argo Partners                                                     12 West 37th Street, Ste. 900                                               New York                        NY       10018                  $56,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     209 03/09/2021 OneCare LTC, LLC               c/o David T. Lin, Esq .            Seyburn Kahn, P.C.                    2000 Town Center - Ste.               Southfield                      MI       48075                 $752,081.58 General Unsecured Trade Claim                         A     12/14/2020 See Notes           Henry Ford Village, Inc.   20-51066
                                                                                                                            1500
     210 03/08/2021 Resident 22173                                                    Address Redacted                                                                                                                           $114,670.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     211 03/08/2021 Resident 22176                                                    Address Redacted                                                                                                                            $35,330.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     212 03/11/2021 Resident 22068                                                    Address Redacted                                                                                                                            $93,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     213 03/11/2021 Resident 22276                                                    Address Redacted                                                                                                                            $94,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     214 03/12/2021 CRG Financial LLC              As Assignee of the Ward D.         100 Union Ave                                                               Cresskill                       NJ       07626                 $190,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                   Peterson Jr. Living Trust, Dated
                                                   10/23/2014
     214 03/12/2021 CRG Financial LLC              As Assignee of the Ward D.         100 Union Ave                                                               Cresskill                       NJ       07626                   $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
                                                   Peterson Jr. Living Trust, Dated
                                                   10/23/2014
     215 03/15/2021 Resident 20262                                                    Address Redacted                                                                                                                            $83,358.33 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     216   03/17/2021   Steven Kraninger                                              13709 N. Martin Way                                                         Mequon                          WI       53097                  $45,000.00   Secured             Bond/Note Claim                                                      Henry Ford Village, Inc.   20-51066
     217   03/12/2021   Resident 20099                                                Address Redacted                                                                                                                           $149,595.90   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     218   03/24/2021   Hershey Creamery Company                                      301 S Cameron Street                                                        Harrisburg                      PA       17101                     $820.55   General Unsecured   503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     218   03/24/2021   Hershey Creamery Company                                      301 S Cameron Street                                                        Harrisburg                      PA       17101                     $246.04   Admin Priority      503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     219   03/24/2021   Resident 20142                                                Address Redacted                                                                                                                                BLANK    General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     220 03/24/2021 Resident 20162                                                    Address Redacted                                                                                                                           $150,052.17 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     221 03/23/2021 Plumley Settlement Fund        Attn Mantese Honigman, P.C.        David Honigman P33146 and Terry Milne 1361 E Big Beaver Road                Troy                            MI       48083                 $800,000.00 General Unsecured Litigation Claim                                                         Henry Ford Village, Inc.   20-51066
                                                                                      Osgood P426
     222 03/25/2021 Resident 22184                                                    Address Redacted                                                                                                                            $78,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     223 03/26/2021 Resident 21874                                                    Address Redacted                                                                                                                           $142,119.00 General Unsecured Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066

     224 03/27/2021 Resident 21805                                                    Address Redacted                                                                                                                           $200,281.95 General Unsecured Former/Current Resident Claim       A     02/12/2021 159                 Henry Ford Village, Inc.   20-51066

     225 03/28/2021 Resident 22010                                                    Address Redacted                                                                                                                           $114,711.87 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066




     225 03/28/2021 Resident 22010                                                    Address Redacted                                                                                                                             $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066




     226 03/25/2021 Resident 22258                                                    Address Redacted                                                                                                                            $85,000.00 General Unsecured Executory Contract Claim                                                 Henry Ford Village, Inc.   20-51066

     227 03/29/2021 Resident 21530                                                    Address Redacted                                                                                                                            $68,014.05 General Unsecured Former/Current Resident Claim       A     12/12/2020 59                  Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                   Creditor Name                Creditor Notice Name                          Address 1          Address 2   Address 3                  City              State       Zip      Country   Claim Amount        Nature                 Claim Type                A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     228 03/30/2021 Bewick Publications, Inc.              Gloria J. Fox, Advertising Director   15630 Michigan Ave                                       Dearborn                        MI       48126                         $300.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066

     229 03/30/2021 Argo Partners                                                                12 West 37th Street, Ste. 900                            New York                        NY       10018                     $150,052.17 General Unsecured Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066
     230 03/31/2021 Jennifer Rilea                                                               6100 Waseca Street, Suite #150                           Duluth                          MN       55807                         $629.58 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     231 03/31/2021 Resident 22219                                                               Address Redacted                                                                                                            $168,625.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     231 03/31/2021 Resident 22219                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066


     232 03/31/2021 Resident 20338                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     232 03/31/2021 Resident 20338                                                               Address Redacted                                                                                                             $13,940.82 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     233 03/31/2021 Resident 22250                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim   A                                    Henry Ford Village, Inc.   20-51066

     233 03/31/2021 Resident 22250                                                               Address Redacted                                                                                                             $13,940.82 General Unsecured Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066

     234 03/31/2021 Resident 21675                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     234 03/31/2021 Resident 21675                                                               Address Redacted                                                                                                            $176,056.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     235 03/28/2021 Resident 22211                                                               Address Redacted                                                                                                            $125,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     236 04/02/2021 Resident 21937                                                               Address Redacted                                                                                                            $166,688.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     236 04/02/2021 Resident 21937                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     237 04/06/2021 SERVICES TO ENHANCE POTENTIAL                                                2941 S. GULLEY ROAD                                      DEARBORN                        MI       48124                       $2,969.03 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     238 04/05/2021 CRG Financial LLC                      As Assignee of Nancy Sanner           100 Union Ave                                            Cresskill                       NJ       07626                     $143,651.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                           Living Trust Dated 01/18/2008
     239 04/02/2021 Michigan Filter & Fleet Supply                                               3330 Dixie Hwy                                           Waterford                       MI       48328                         $209.55 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     240 04/05/2021 Resident 22170                                                               Address Redacted                                                                                                              $3,025.00 Priority          Former/Current Resident Claim       A     02/22/2021 153                 Henry Ford Village, Inc.   20-51066

     240 04/05/2021 Resident 22170                                                               Address Redacted                                                                                                            $138,975.00 General Unsecured Former/Current Resident Claim       A     02/22/2021 153                 Henry Ford Village, Inc.   20-51066

     241 04/05/2021 Resident 22232                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     241 04/05/2021 Resident 22232                                                               Address Redacted                                                                                                            $175,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     242 04/05/2021 Resident 21646                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     242 04/05/2021 Resident 21646                                                               Address Redacted                                                                                                            $139,032.45 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     243 04/07/2021 Resident 22175                                                               Address Redacted                                                                                                            $188,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     244 04/06/2021 Resident 20377                                                               Address Redacted                                                                                                              $3,025.00 Priority              Former/Current Resident Claim   A                                    Henry Ford Village, Inc.   20-51066

     244 04/06/2021 Resident 20377                                                               Address Redacted                                                                                                            $178,975.00 General Unsecured Former/Current Resident Claim       A                                    Henry Ford Village, Inc.   20-51066

     245 04/06/2021 Resident 21946                                                               Address Redacted                                                                                                             $13,335.98 Secured               Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     246 04/07/2021 Resident 22025                                                               Address Redacted                                                                                                             $48,900.31 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066




     247 04/08/2021 Bradford Capital Holdings, LP          Brian L. Brager                   P.O. Box 4353                                                Clifton                         NJ       07012                     $132,750.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     248 04/07/2021 City of Dearborn                       City of Dearborn Legal Department 16901 Michigan Ave., Suite 14                                Dearborn                        MI       48126-2967                 $61,046.59 Secured           Utility Claim                                                            Henry Ford Village, Inc.   20-51066

     249   04/08/2021   Metro Carbonic                     Joyce Walker                          12620 Southfield                                         Detroit                         MI       48223                          $72.54   General Unsecured   503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     249   04/08/2021   Metro Carbonic                     Joyce Walker                          12620 Southfield                                         Detroit                         MI       48223                       $2,325.00   Admin Priority      503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     250   04/12/2021   Comerica Bank                      Gary P. Mach                          3551 Hamlin Rd., MC 7356                                 Auburn Hills                    MI       48326                      $27,460.26   Secured             Trade Claim                                                          Henry Ford Village, Inc.   20-51066
     251   04/12/2021   Resident 21878                                                           Address Redacted                                                                                                              $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     251 04/12/2021 Resident 21878                                                               Address Redacted                                                                                                             $99,835.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     252 04/12/2021 Resident 21969                                                               Address Redacted                                                                                                            $150,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     253 04/12/2021 Resident 21785                                                               Address Redacted                                                                                                            $153,800.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     254 04/12/2021 Resident 21785                                                               Address Redacted                                                                                                            $153,850.00 General Unsecured Former/Current Resident Claim       A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     255 04/12/2021 Resident 21785                                                               Address Redacted                                                                                                            $153,800.00 Secured               Former/Current Resident Claim   A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     255 04/12/2021 Resident 21785                                                               Address Redacted                                                                                                                 $50.00 General Unsecured Former/Current Resident Claim       A     04/12/2021                     Henry Ford Village, Inc.   20-51066

     256 04/13/2021 Resident 22253                                                               Address Redacted                                                                                                            $224,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     257 04/13/2021 Resident 22012                                                               Address Redacted                                                                                                            $195,000.00 General Unsecured Former/Current Resident Claim       A     12/07/2020 23                  Henry Ford Village, Inc.   20-51066

     258 04/13/2021 Bradford Capital Holdings, LP          Brian L. Brager                       P.O. Box 4353                                            Clifton                         NJ       07012                     $125,845.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     259 04/13/2021 Bradford Capital Holdings, LP          Brian L. Brager                       P.O. Box 4353                                            Clifton                         NJ       07012                     $135,120.00 General Unsecured Former/Current Resident Claim       A     04/13/2021                     Henry Ford Village, Inc.   20-51066
     260 04/11/2021 Resident 21934                                                               Address Redacted                                                                                                              $3,025.00 Priority          Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     260 04/11/2021 Resident 21934                                                               Address Redacted                                                                                                              $2,651.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     261 04/07/2021 Resident 21856                                                               Address Redacted                                                                                                            $169,713.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     262 04/08/2021 Bradford Capital Holdings, LP          Brian L. Brager                       P.O. Box 4353                                            Clifton                         NJ       07012                       $3,025.00 Priority          Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     262 04/08/2021 Bradford Capital Holdings, LP          Brian L. Brager                       P.O. Box 4353                                            Clifton                         NJ       07012                     $151,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     263 04/13/2021 Service Pro Plumbing & Environmental                                         44300 Grand River Avenue                                 Novi                            MI       48375                      $18,230.00 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
                    Contracting Inc
     264 04/13/2021 Power Vac Of Michigan Inc                                                    44300 GRAND RIVER                                        NOVI                            MI       48375                       $3,440.50 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     265 04/14/2021 Resident 22050                                                               Address Redacted                                                                                                             $40,553.22 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name                      Creditor Notice Name                  Address 1                         Address 2            Address 3                  City                  State      Zip   Country   Claim Amount        Nature                Claim Type                  A R   A/R Date         A/R Claim #       Debtor Name             Debtor Number
     266 04/14/2021 Resident 22116                                                             Address Redacted                                                                                                                                   $236,000.00 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066


     267 04/12/2021 Bradford Capital Holdings, LP               Brian L. Brager                P.O. Box 4353                                                                   Clifton                         NJ           07012                    $3,025.00 Priority          Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     267 04/12/2021 Bradford Capital Holdings, LP               Brian L. Brager                P.O. Box 4353                                                                   Clifton                         NJ           07012                   $74,475.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     268 04/12/2021 Resident 20641                                                             Address Redacted                                                                                                                                    $190,287.23 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     268 04/12/2021 Resident 20641                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     269 04/14/2021 Resident 20088                                                             Address Redacted                                                                                                                                    $163,377.48 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     269 04/14/2021 Resident 20088                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     270 04/15/2021 Resident 21920                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim   A     02/18/2021                     Henry Ford Village, Inc.   20-51066

     270 04/15/2021 Resident 21920                                                             Address Redacted                                                                                                                                     $86,752.34 General Unsecured Former/Current Resident Claim       A     02/18/2021                     Henry Ford Village, Inc.   20-51066

     271 04/15/2021 Resident 21920                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim   A     04/15/2021                     Henry Ford Village, Inc.   20-51066

     271 04/15/2021 Resident 21920                                                             Address Redacted                                                                                                                                     $86,752.34 General Unsecured Former/Current Resident Claim       A     04/15/2021                     Henry Ford Village, Inc.   20-51066

     272 04/15/2021 Resident 22971                                                             Address Redacted                                                                                                                                    $216,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     273 04/15/2021 CRG Financial LLC                           As Assignee of the Nagorski    100 Union Ave                                                                   Cresskill                       NJ           07626                   $26,279.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
                                                                Family Trust
     274 04/16/2021 Gordon Food Service, Inc.                   c/o Jason Torf                 Ice Miller LLP                          200 W. Madison Street,                  Chicago                         IL           60606                   $34,277.14 Admin Priority        503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
                                                                                                                                       Suite 3500
     274 04/16/2021 Gordon Food Service, Inc.                   c/o Jason Torf                 Ice Miller LLP                          200 W. Madison Street,                  Chicago                         IL           60606                   $41,993.38 General Unsecured 503(b)(9) Claim                                                          Henry Ford Village, Inc.   20-51066
                                                                                                                                       Suite 3500
     275 04/18/2021 Resident 20555                                                             Address Redacted                                                                                                                                     $33,647.31 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     276 04/18/2021 Resident 21797                                                             Address Redacted                                                                                                                                    $138,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     276 04/18/2021 Resident 21797                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     277 04/19/2021 Resident 22030                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     277 04/19/2021 Resident 22030                                                             Address Redacted                                                                                                                                    $128,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     278 04/19/2021 Resident 20463                                                             Address Redacted                                                                                                                                     $28,852.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     279 04/15/2021 Resident 22272                                                             Address Redacted                                                                                                                                     $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     280 04/15/2021 Resident 22281                                                             Address Redacted                                                                                                                                     $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     281 04/15/2021 Resident 22286                                                             Address Redacted                                                                                                                                     $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     282 04/15/2021 Resident 22172                                                             Address Redacted                                                                                                                                     $16,525.54 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     283 04/19/2021 RehabCare Group East, LLC f/k/a RehabCare   Phillip A. Martin              Fultz Maddox Dickens PLC                101 S. Fifth Street, 27th               Louisville                      KY           40202                  $189,096.30 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
                    Group East, Inc.                                                                                                   Floor
     284 04/19/2021 Resident 22206                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     284 04/19/2021 Resident 22206                                                             Address Redacted                                                                                                                                     $56,725.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     285 04/19/2021 Resident 21729                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     285 04/19/2021 Resident 21729                                                             Address Redacted                                                                                                                                    $222,975.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     286 04/19/2021 Resident 21730                                                             Address Redacted                                                                                                                                           W/D Secured                Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     286 04/19/2021 Resident 21730                                                             Address Redacted                                                                                                                                           W/D Priority               Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     287 04/19/2021 Resident 22200                                                             Address Redacted                                                                                                                                      $3,025.00 Priority              Former/Current Resident Claim   A     04/19/2021 See Notes           Henry Ford Village, Inc.   20-51066

     287 04/19/2021 Resident 22200                                                             Address Redacted                                                                                                                                      $2,651.00 General Unsecured Former/Current Resident Claim       A     04/19/2021 See Notes           Henry Ford Village, Inc.   20-51066

     288 04/20/2021 AIG Property Casualty, Inc.                 Attn. Kevin J. Larner, Esq.    80 Pine Street, 13th Floor                                                      New York                        NY           10005              UNLIQUIDATED General Unsecured Insurance Claim                                                             Henry Ford Village, Inc.   20-51066
     289 04/14/2021 Resident 21940                                                             Address Redacted                                                                                                                                   $129,286.00 Admin Priority    Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066
     290 04/20/2021 Resident 22267                                                             Address Redacted                                                                                                                                   $218,000.00 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     291 04/20/2021 Bradford Capital Holdings, LP               Brian L. Brager                P.O. Box 4353                                                                   Clifton                         NJ           07012                  $168,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066
     292 04/22/2021 Resident 21965                                                             Address Redacted                                                                                                                                    $140,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     293 04/21/2021 Resident 22203                                                             Address Redacted                                                                                                                                      $4,373.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     294 04/21/2021 Resident 21970                                                             Address Redacted                                                                                                                                     $65,625.00 General Unsecured Former/Current Resident Claim       A     04/12/2021 252                 Henry Ford Village, Inc.   20-51066

     295 04/22/2021 Resident 22279                                                             Address Redacted                                                                                                                                    $297,000.00 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066


     296   04/20/2021   Detroit Glass & Mirror                                                 972 Adelaide                                                                    Wyandotte                       MI           48192                    $8,457.69   General Unsecured   Trade Claim                     A                                    Henry Ford Village, Inc.   20-51066
     297   04/21/2021   Argo Partners                                                          12 West 37th Street, Ste. 900                                                   New York                        NY           10018                    $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     297   04/21/2021   Argo Partners                                                          12 West 37th Street, Ste. 900                                                   New York                        NY           10018                   $53,052.43   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     298   04/21/2021   Resident 22972                                                         Address Redacted                                                                                                                                      $3,025.00   Priority            Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     298 04/21/2021 Resident 22972                                                             Address Redacted                                                                                                                                     $53,052.43 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     299 04/20/2021 TFG Leasing Fund III, LLC                   c/o David M. Eisenberg, Esq.   28400 Northwestern Highway, 2nd Floor                                           Southfield                      MI           48034                   $41,102.88 General Unsecured Trade Claim                                                              Henry Ford Village, Inc.   20-51066
     300 04/21/2021 Resident 20507                                                             Address Redacted                                                                                                                                    $164,023.10 General Unsecured Former/Current Resident Claim                                            Henry Ford Village, Inc.   20-51066

     301   04/21/2021   Hunter Douglas Fabrication Company                                     One Hunter Douglas Drive                                                        Cumberland                      MA           21502                     $522.61    General Unsecured   503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     301   04/21/2021   Hunter Douglas Fabrication Company                                     One Hunter Douglas Drive                                                        Cumberland                      MA           21502                    $1,228.85   Admin Priority      503(b)(9) Claim                                                      Henry Ford Village, Inc.   20-51066
     302   04/21/2021   William Beaumont Hospital               Maria G Carr                   600 Superior Avenue Suite 2100                                                  Cleveland                       OH           44114                   $39,284.54   General Unsecured   Trade Claim                                                          Henry Ford Village, Inc.   20-51066
     303   04/21/2021   Resident 21733                                                         Address Redacted                                                                                                                                    $204,000.00   General Unsecured   Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     304 04/21/2021 William Beaumont Hospital                   Maria G Carr                   600 Superior Avenue Suite 2100                                                  Cleveland                       OH           44114                  $39,284.54 General Unsecured Trade Claim                                                               Henry Ford Village, Inc.   20-51066
     305 04/20/2021 UMB Bank, N.A. as Bond Trustee              Eric Blythe                    Mintz Levin                             One Financial Center                    Boston                          MA           02111              UNLIQUIDATED Secured             Bond/Note Claim                                                           Henry Ford Village, Inc.   20-51066



In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name                            Creditor Notice Name                       Address 1                        Address 2        Address 3                  City                  State      Zip   Country   Claim Amount        Nature                Claim Type                  A R   A/R Date         A/R Claim #        Debtor Name             Debtor Number
     306 04/22/2021 Resident 22109                                                                        Address Redacted                                                                                                                              $112,500.00 General Unsecured Former/Current Resident Claim                                              Henry Ford Village, Inc.   20-51066




     307 04/21/2021 Resident 22141                                                                        Address Redacted                                                                                                                              $130,000.00 General Unsecured Former/Current Resident Claim        A                                     Henry Ford Village, Inc.   20-51066
     308 04/21/2021 Resident 22149                                                                        Address Redacted                                                                                                                              $112,602.09 General Unsecured Former/Current Resident Claim        A                25595754; 14842945   Henry Ford Village, Inc.   20-51066




     309 04/22/2021 Resident 22239                                                                        Address Redacted                                                                                                                              $157,500.00 General Unsecured Former/Current Resident Claim                                              Henry Ford Village, Inc.   20-51066


     310 04/22/2021 Resident 20226                                                                        Address Redacted                                                                                                                                $46,859.25 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     311 04/22/2021 Resident 22095                                                                        Address Redacted                                                                                                                                $33,726.02 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     312 04/20/2021 Resident 22251                                                                        Address Redacted                                                                                                                                $84,000.00 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     313 04/20/2021 Resident 22202                                                                        Address Redacted                                                                                                                                $66,102.15 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     314 04/22/2021 Resident 20068                                                                        Address Redacted                                                                                                                              $199,434.16 General Unsecured Former/Current Resident Claim                                              Henry Ford Village, Inc.   20-51066

     315 04/22/2021 Resident 21955                                                                        Address Redacted                                                                                                                                 $1,800.00 Priority              Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     315 04/22/2021 Resident 21955                                                                        Address Redacted                                                                                                                                $59,369.49 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     316   04/22/2021   Invesco High Yield Municipal Fund              Attn Legal Department              11 Greenway Plaza Suite 1000                                               Houston                         TX           77046                $3,745,222.40   General Unsecured   Bond/Note Claim                                                       Henry Ford Village, Inc.   20-51066
     317   04/22/2021   Invesco High Yield Municipal Fund              Attn Legal Department              11 Greenway Plaza Suite 1000                                               Houston                         TX           77046                $5,853,155.00   General Unsecured   Bond/Note Claim                                                       Henry Ford Village, Inc.   20-51066
     318   04/22/2021   Invesco High Yield Municipal Fund              Attn Legal Department              11 Greenway Plaza Suite 1000                                               Houston                         TX           77046                $3,897,573.00   General Unsecured   Bond/Note Claim                                                       Henry Ford Village, Inc.   20-51066
     319   04/22/2021   Invesco Municipal Income Opportunities Trust   Attn Legal Department              11 Greenway Plaza Suite 1000                                               Houston                         TX           77046                  $848,295.30   General Unsecured   Bond/Note Claim                                                       Henry Ford Village, Inc.   20-51066
     320   04/22/2021   Resident 22283                                                                    Address Redacted                                                                                                                               $133,000.00   Admin Priority      Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     321 04/22/2021 Resident 22198                                                                        Address Redacted                                                                                                                                 $3,025.00 Priority              Former/Current Resident Claim   A     03/01/2021 180                  Henry Ford Village, Inc.   20-51066


     321 04/22/2021 Resident 22198                                                                        Address Redacted                                                                                                                              $136,975.00 General Unsecured Former/Current Resident Claim        A     03/01/2021 180                  Henry Ford Village, Inc.   20-51066


     322 04/22/2021 Argo Partners                                                                         12 West 37th Street, Ste. 900                                              New York                        NY           10018                    $3,025.00 Priority          Former/Current Resident Claim       A     02/05/2021 112                  Henry Ford Village, Inc.   20-51066
     322 04/22/2021 Argo Partners                                                                         12 West 37th Street, Ste. 900                                              New York                        NY           10018                   $89,975.00 General Unsecured Former/Current Resident Claim       A     02/05/2021 112                  Henry Ford Village, Inc.   20-51066
     323 04/26/2021 Resident 20137                                                                        Address Redacted                                                                                                                                $45,584.00 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     324 04/26/2021 William Beaumont Hospital                          Maria G Carr                       600 Superior Avenue Suite 2100                                             Cleveland                       OH           44114                   $39,284.54 General Unsecured Trade Claim                                                               Henry Ford Village, Inc.   20-51066
     325 04/26/2021 Resident 22107                                                                        Address Redacted                                                                                                                                 $3,025.00 Priority          Former/Current Resident Claim       A     12/30/2020 26 & 64              Henry Ford Village, Inc.   20-51066


     325 04/26/2021 Resident 22107                                                                        Address Redacted                                                                                                                              $159,975.00 General Unsecured Former/Current Resident Claim        A     12/30/2020 26 & 64              Henry Ford Village, Inc.   20-51066


     326 04/30/2021 Resident 21992                                                                        Address Redacted                                                                                                                              $159,000.00 Priority               Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     327 05/03/2021 Resident 22107                                                                        Address Redacted                                                                                                                                 $3,025.00 Priority              Former/Current Resident Claim   A     12/30/2020 See Notes            Henry Ford Village, Inc.   20-51066


     327 05/03/2021 Resident 22107                                                                        Address Redacted                                                                                                                              $159,975.00 General Unsecured Former/Current Resident Claim        A     12/30/2020 See Notes            Henry Ford Village, Inc.   20-51066


     328 05/05/2021 Your Look Logos, LLC                               Kimberly R Kramer                  4109 Brouseville Ave                                                       Lincoln Park                    MI           48146                    $1,855.16 General Unsecured Trade Claim                                                               Henry Ford Village, Inc.   20-51066
     329 05/06/2021 Johnson Controls Inc                               Cesar Garcia                       10405 Crosspoint Blvd                                                      Indianapolis                    IN           46256                    $6,048.12 General Unsecured Trade Claim                                                               Henry Ford Village, Inc.   20-51066
     330 05/14/2021 Resident 20095                                                                        Address Redacted                                                                                                                                $70,000.00 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     331 05/19/2021 Resident 20095                                                                        Address Redacted                                                                                                                           UNLIQUIDATED General Unsecured Former/Current Resident Claim                                                Henry Ford Village, Inc.   20-51066

     332   05/28/2021   Bradford Capital Holdings, LP                  Brian L. Brager                    P.O. Box 4353                                                              Clifton                         NJ           07012                 $175,000.00    General Unsecured   Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     333   06/02/2021   Medical Staffing Network                       c/o Jonathan Neil & Assoc. Inc.    P.O. Box 7000                                                              Tarzana                         CA           91357                  $18,697.13    General Unsecured   Trade Claim                     A     02/10/2021 1                    Henry Ford Village, Inc.   20-51066
     334   06/15/2021   Bradford Capital Holdings, LP                  Brian L. Brager                    P.O. Box 4353                                                              Clifton                         NJ           07012                 $148,500.00    General Unsecured   Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     335   06/23/2021   Alternative Contracting Inc.                                                      7703 Donna St                                                              Westland                        MI           48185                  $12,080.00    Admin Priority      503(b)(9) Claim                                                       Henry Ford Village, Inc.   20-51066
     336   07/01/2021   Argo Partners                                                                     12 West 37th Street, Ste. 900                                              New York                        NY           10018                 $104,975.80    General Unsecured   Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     337   07/19/2021   Resident 22307                                                                    Address Redacted                                                                                                                              $111,350.00    General Unsecured   Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     338 12/22/2020 Kenwhirl Appliance                                 Ray Kufel, President               13603 Ashurst                                                              Livonia                         MI           48150                    $3,064.00 General Unsecured Trade Claim                                                               Henry Ford Village, Inc.   20-51066
     339 07/22/2021 OneDay                                             Deena Naccarella                   150 Manufacturing Street, Suite 207                                        Dallas                          TX           75207                     $206.25 Admin Priority     503(b)(9) Claim                                                           Henry Ford Village, Inc.   20-51066
     340 08/03/2021 Resident 22400                                                                        Address Redacted                                                                                                                                $78,404.94 General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066


     341 08/04/2021 Toledo Municipal Court                             Commissioner of Taxation City of   One Government Center, Suite 2070                                          Toledo                          OH           43604                    $2,678.91 Priority              Tax Claim                                                             Henry Ford Village, Inc.   20-51066
                                                                       Toledo
     342 08/06/2021 Resident 22402                                                                        Address Redacted                                                                                                                                $80,000.00 Admin Priority        503(b)(9) Claim                                                       Henry Ford Village, Inc.   20-51066

     343 08/11/2021 Resident 22402                                                                        Address Redacted                                                                                                                                $80,000.00 Admin Priority        Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     344 08/19/2021 TimePayment Corp.                                                                     1600 District Avenue, Suite 200                                            Burlington                      MA           01803                  $11,676.58 General Unsecured Executory Contract Claim             A     12/04/2020 10                   Henry Ford Village, Inc.   20-51066
     345 08/27/2021 Resident 22306                                                                        Address Redacted                                                                                                                              $132,000.00 General Unsecured Former/Current Resident Claim                                              Henry Ford Village, Inc.   20-51066
     346 09/03/2021 Michigan Department of Health and Human            Brian K. McLaughlin, AAG           PO Box 30754                                                               Lansing                         MI           48909                  $13,959.33 General Unsecured Governmental Claim                                                         Henry Ford Village, Inc.   20-51066
                    Services
     347 09/01/2021 Gunderson, Inc DBA Flowers on the Avenue                                              6834 Park Avenue                                                           Allen Park                      MI           48180                     $240.00 Admin Priority     503(b)(9) Claim                                                           Henry Ford Village, Inc.   20-51066
     348 09/03/2021 Michigan Department of Health and Human            Brian K. McLaughlin, AAG           PO Box 30754                                                               Lansing                         MI           48909                   $13,959.33 General Unsecured Governmental Claim                                                        Henry Ford Village, Inc.   20-51066
                    Services
     349 09/02/2021 Health Resources & Services Administration US      c/o James Walsh, Assistant         Office of the General Counsel, US DHHS 233 N. Michigan Ave.,               Chicago                         IL           60601              UNLIQUIDATED General Unsecured Governmental Claim                                                           Henry Ford Village, Inc.   20-51066
                    DHHS                                               Regional Counsel                                                          Suite 700
     350 09/13/2021 Resident 22305                                                                        Address Redacted                                                                                                                                 $3,025.00 Priority              Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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  Claim
   No. Date Filed                  Creditor Name                      Creditor Notice Name                Address 1         Address 2   Address 3                City               State       Zip      Country   Claim Amount        Nature                Claim Type               A R   A/R Date        A/R Claim #       Debtor Name             Debtor Number
     350 09/13/2021 Resident 22305                                                           Address Redacted                                                                                                         $107,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066




     351 10/05/2021 Resident 22396                                                           Address Redacted                                                                                                            $3,025.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     351 10/05/2021 Resident 22396                                                           Address Redacted                                                                                                           $71,975.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     352 10/13/2021 Resident 21986                                                           Address Redacted                                                                                                         $167,400.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     353 10/22/2021 Resident 22906                                                           Address Redacted                                                                                                           $75,000.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     354 10/26/2021 Resident 20682                                                           Address Redacted                                                                                                          $90,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     355 11/03/2021 CA Type and Graphics                         Aaron Arkelian              7326 Greenfield Road                                   Dearborn                       MI       48126                        $692.00 General Unsecured Trade Claim                                                            Henry Ford Village, Inc.   20-51066
     356 11/05/2021 Resident 22908                                                           Address Redacted                                                                                                         $101,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     357 11/05/2021 Resident 22909                                                           Address Redacted                                                                                                            $1,000.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066




     357 11/05/2021 Resident 22909                                                           Address Redacted                                                                                                      UNLIQUIDATED General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066




     358 11/10/2021 Resident 22910                                                           Address Redacted                                                                                                         $148,875.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     359 11/09/2021 Resident 21300                                                           Address Redacted                                                                                                           $89,273.11 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     360 11/10/2021 Resident 22911                                                           Address Redacted                                                                                                         $172,332.93 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     361 11/15/2021 Resident 22912                                                           Address Redacted                                                                                                         $135,117.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     362 11/15/2021 Resident 22913                                                           Address Redacted                                                                                                          $82,268.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     363 11/17/2021 Resident 22914                                                           Address Redacted                                                                                                         $203,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     364 11/18/2021 Resident 22915                                                           Address Redacted                                                                                                           $97,125.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     365 11/22/2021 Resident 22916                                                           Address Redacted                                                                                                           $44,358.89 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     366 11/24/2021 Resident 22918                                                           Address Redacted                                                                                                            $3,025.00 Priority          Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     366 11/24/2021 Resident 22918                                                           Address Redacted                                                                                                           $71,975.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     367 11/26/2021 Resident 22920                                                           Address Redacted                                                                                                            $3,025.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     367 11/26/2021 Resident 22920                                                           Address Redacted                                                                                                         $219,975.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     368 11/29/2021 Resident 20682                                                           Address Redacted                                                                                                          $89,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066
     369 12/02/2021 Pitney Bowes Global Financial Services LLC                               27 Waterview Drive                                     Shelton                        CT       06484                       $5,069.17 General Unsecured Trade Claim                                                           Henry Ford Village, Inc.   20-51066
     370 11/30/2021 Resident 22040                                                           Address Redacted                                                                                                         $198,000.00 General Unsecured Former/Current Resident Claim     A     12/11/2020 37                 Henry Ford Village, Inc.   20-51066

     371 12/10/2021 Resident 22943                                                           Address Redacted                                                                                                         $153,841.33 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     372 12/13/2021 Resident 22939                                                           Address Redacted                                                                                                         $100,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     373 12/13/2021 Resident 20796                                                           Address Redacted                                                                                                           $75,000.00 Secured            Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     373 12/13/2021 Resident 20796                                                           Address Redacted                                                                                                           $19,225.35 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     374 12/14/2021 Resident 22955                                                           Address Redacted                                                                                                         $112,308.81 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     375 12/15/2021 Clark, Ms. Toya M                                                        34411 Parkgrove Dr                                     Westland                       MI       48185-1403                     BLANK General Unsecured Employee Claim                                                         Henry Ford Village, Inc.   20-51066
     376 12/15/2021 Resident 22974                                                           Address Redacted                                                                                                              BLANK General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066
     377 12/16/2021 Resident 20429                                                           Address Redacted                                                                                                           $93,000.00 General Unsecured Former/Current Resident Claim    A     02/10/2021 48                 Henry Ford Village, Inc.   20-51066

     378 12/16/2021 Resident 21245                                                           Address Redacted                                                                                                           $95,554.58 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     379 12/17/2021 Resident 22950                                                           Address Redacted                                                                                                         $120,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     380 12/17/2021 Resident 22934                                                           Address Redacted                                                                                                         $297,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066


     381 12/17/2021 Resident 22936                                                           Address Redacted                                                                                                         $172,575.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     382 12/17/2021 Resident 22940                                                           Address Redacted                                                                                                         $156,000.00 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     383 12/15/2021 Resident 22949                                                           Address Redacted                                                                                                         $111,900.61 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     384 12/23/2021 Resident 20750                                                           Address Redacted                                                                                                           $42,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     385 12/22/2021 Resident 21245                                                           Address Redacted                                                                                                           $95,554.58 General Unsecured Former/Current Resident Claim    A     12/16/2021                    Henry Ford Village, Inc.   20-51066

     386 12/21/2021 Resident 21222                                                           Address Redacted                                                                                                            $3,597.89 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     386 12/21/2021 Resident 21222                                                           Address Redacted                                                                                                            $3,025.00 Priority          Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066
     387 12/22/2021 Resident 20907                                                           Address Redacted                                                                                                           $75,000.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     388 12/22/2021 Resident 22935                                                           Address Redacted                                                                                                         $196,164.57 General Unsecured Former/Current Resident Claim                                         Henry Ford Village, Inc.   20-51066

     389 12/27/2021 Resident 22960                                                           Address Redacted                                                                                                           $84,535.52 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     390 12/27/2021 Resident 21145                                                           Address Redacted                                                                                                           $96,975.00 General Unsecured Former/Current Resident Claim                                        Henry Ford Village, Inc.   20-51066

     390 12/27/2021 Resident 21145                                                           Address Redacted                                                                                                            $3,025.00 Priority           Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
Case No. 20-51066 (MAR)                                                                                                                                        Page 9 of 10

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  Claim
   No. Date Filed                   Creditor Name                     Creditor Notice Name                  Address 1            Address 2        Address 3                  City              State       Zip      Country   Claim Amount           Nature                    Claim Type          A R A/R Date          A/R Claim #       Debtor Name             Debtor Number
     391 12/23/2021 Department of Treasury - Internal Revenue   Internal Revenue Service     PO Box 7346                                                      Philadelphia                    PA       19101-7346                $194,470.92 Priority              Tax Claim                       A   12/03/2020 8                    Henry Ford Village, Inc.   20-51066
                    Service
     392 12/27/2021 Department of Treasury - Internal Revenue   Internal Revenue Service     PO Box 7346                                                      Philadelphia                    PA       19101-7346                $529,299.97 Priority              Tax Claim                       A    12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     392 12/27/2021 Department of Treasury - Internal Revenue   Internal Revenue Service     PO Box 7346                                                      Philadelphia                    PA       19101-7346                   $2,179.52 General Unsecured Tax Claim                          A    12/03/2020 8                   Henry Ford Village, Inc.   20-51066
                    Service
     393 12/28/2021 Resident 20942                                                           Address Redacted                                                                                                                       $1,458.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     393 12/28/2021 Resident 20942                                                           Address Redacted                                                                                                                       $3,025.00 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     394 12/29/2021 Resident 21728                                                           Address Redacted                                                                                                                      $78,000.00 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     395 12/29/2021 Resident 22242                                                           Address Redacted                                                                                                                       $3,025.00 Priority             Former/Current Resident Claim   A    03/07/2021 198                 Henry Ford Village, Inc.   20-51066

     395 12/29/2021 Resident 22242                                                           Address Redacted                                                                                                                      $74,171.24 General Unsecured Former/Current Resident Claim      A    03/07/2021 198                 Henry Ford Village, Inc.   20-51066

     396 12/29/2021 Resident 22241                                                           Address Redacted                                                                                                                       $3,025.00 Priority             Former/Current Resident Claim   A    03/07/2021 197                 Henry Ford Village, Inc.   20-51066

     396 12/29/2021 Resident 22241                                                           Address Redacted                                                                                                                      $74,171.23 General Unsecured Former/Current Resident Claim      A    03/07/2021 197                 Henry Ford Village, Inc.   20-51066

     397   12/29/2021   Ugochukwu, Ms. Angela                                                4819 Cortland Street                                             Detroit                         MI       48204                  UNLIQUIDATED     Priority            503(b)(9) Claim                      12/22/2021                     Henry Ford Village, Inc.   20-51066
     397   12/29/2021   Ugochukwu, Ms. Angela                                                4819 Cortland Street                                             Detroit                         MI       48204                  UNLIQUIDATED     Admin Priority      503(b)(9) Claim                      12/22/2021                     Henry Ford Village, Inc.   20-51066
     398   12/30/2021   Hindmarsh, Mr. Wayne Andrew                                          464 Neff Road Apt 1                                              Grosse Pointe                   MI       48230                       $2,794.82   Priority            Employee Claim                                                      Henry Ford Village, Inc.   20-51066
     399   01/03/2022   Resident 22863                                                       Address Redacted                                                                                                                     $99,000.00   General Unsecured   Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066


     400 01/03/2022 Moussa, Ms. Mira H.                                                      22260 Edison Street                                              Dearborn                        MI       48124                  UNLIQUIDATED General Unsecured Employee Claim                                                            Henry Ford Village, Inc.   20-51066
     401 01/03/2022 Resident 21409                                                           Address Redacted                                                                                                                        BLANK General Unsecured Former/Current Resident Claim                                             Henry Ford Village, Inc.   20-51066

     402 01/04/2022 Resident 22953                                                           Address Redacted                                                                                                                    $240,750.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     403 01/05/2022 Resident 22966                                                           Address Redacted                                                                                                                       $5,549.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     404 01/05/2022 Resident 22965                                                           Address Redacted                                                                                                                    $123,000.00 Admin Priority        503(b)(9) Claim                                                     Henry Ford Village, Inc.   20-51066

     405 01/05/2022 Resident 22603                                                           Address Redacted                                                                                                                    $548,000.00 Priority              Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     406 01/05/2022 Resident 22954                                                           Address Redacted                                                                                                                      $32,740.27 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     407 01/06/2022 Resident 22961                                                           Address Redacted                                                                                                                       $3,025.00 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066


     407 01/06/2022 Resident 22961                                                           Address Redacted                                                                                                                      $69,837.50 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066


     408 01/06/2022 Resident 21036                                                           Address Redacted                                                                                                                      $44,358.89 General Unsecured Former/Current Resident Claim      A    11/16/2021                     Henry Ford Village, Inc.   20-51066

     409 01/07/2022 Resident 21153                                                           Address Redacted                                                                                                                    $105,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     410 01/09/2022 Resident 20892                                                           Address Redacted                                                                                                                    $129,500.00 General Unsecured Former/Current Resident Claim       A    11/18/2021 364                 Henry Ford Village, Inc.   20-51066

     411 01/14/2022 Resident 22964                                                           Address Redacted                                                                                                                       $3,025.00 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     411 01/14/2022 Resident 22964                                                           Address Redacted                                                                                                                         $998.00 General Unsecured Former/Current Resident Claim                                          Henry Ford Village, Inc.   20-51066

     412 01/14/2022 Life Care Services LLC                      David A. Lerner, Esq         Plunkett Cooney                38505 Woodward Ave,               Bloomfield Hills                MI       48304                    $2,839,749.88 General Unsecured Trade Claim                        A    03/05/2021 63                  Henry Ford Village, Inc.   20-51066
                                                                                                                            Ste 100
     413 01/16/2022 Resident 20876                                                           Address Redacted                                                                                                                    $199,500.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     414 01/18/2022 Resident 21089                                                           Address Redacted                                                                                                                    $130,000.00 General Unsecured Former/Current Resident Claim                                           Henry Ford Village, Inc.   20-51066

     415 01/03/2022 Resident 22937                                                           Address Redacted                                                                                                                       $1,214.59 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066

     416 01/19/2022 Resident 21540                                                           Address Redacted                                                                                                                       $1,000.00 Priority             Former/Current Resident Claim                                       Henry Ford Village, Inc.   20-51066




In re Henry Ford Village, Inc.
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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE:                                         Case No. 20-51066-mar

HENRY FORD VILLAGE, INC.,                      Chapter 11

     Debtor.                                   Honorable Mark A. Randon
________________________________/

                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 28th day of January, 2022, a true

and correct copy of the foregoing document was served via CM/ECF on all parties

registered to receive notice.

                                            DYKEMA GOSSETT PLLC

                                            By: /s/ Sheryl L. Toby
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                                              COUNSEL FOR DEBTOR AND
                                              DEBTOR-IN-POSSESSION


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